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                                                  Paper Inv
       customer                          number Bal. due ** date              total           3         ** Review paper invoices remaining bal due amount
*    1 Suzette van Reede van OuINV-2834                  -         1/8/2018          300.00
     2 WON JIN LEE                       INV-2835                  1/8/2018        3,750.00                                                                        % of Total % of sample size
     3 Elissa                            INV-2836                  1/8/2018          312.50                             Total all amounts        $ 2,254,991.55
     4 Omar Y K Alshaikhali              INV-2837                  1/8/2018          300.00                             Total # Invoices                   1052
     5 Sam                               INV-2838                  1/8/2018          400.00
     6 Enache Gica                       INV-2839                  1/8/2018        1,000.00                             Sum Not Zero             $    46,928.50        2.08%         34.17%
     7 WON JIN LEE                       INV-2840                  1/8/2018        4,625.00                             Total # Not Zero                      66       6.27%         66.67%
     8 Joseph Jreige                     INV-2841                  1/8/2018        5,000.00
     9 Christiandel Rosales              INV-2842                  1/8/2018          300.00                             Total with Zero bal      $    90,400.50        4.01%         65.83%
*   10 Dean Ryan                         INV-2843    500.00        1/8/2018          500.00       Not Zero              Total # with Zero bal                 33       3.14%         33.33%
    11 Desalegn                          INV-2844                  1/8/2018          550.00                             Total Sample size            137,329.00        6.09%
    12 David N. Starr                    INV-2845                  1/8/2018          625.00                             Total # Sample size                   99       9.41%
    13 Josh Kuriakose                    INV-2846                  1/8/2018          400.00
    14 Youngsoo Na                       INV-2847                  1/8/2018          600.00
    15 WON JIN LEE                       INV-2848                  1/8/2018          937.50
    16 Daniel D Feeney                   INV-2849                  1/8/2018          900.00
    17 Kim HyunDong                      INV-2850                  1/8/2018        1,250.00
    18 Christopher Katigbak              INV-2851                  1/8/2018          625.00
    19 Darren Eilersen                   INV-2852                  1/8/2018        1,000.00
*   20 Zahid Habib Alimulla              INV-2853  1,000.00        1/8/2018        1,000.00       Not Zero
    21 Eyal                              INV-2854                  1/8/2018          312.50
    22 Isaac gonzalez                    INV-2855                  1/8/2018          390.00
    23 Joseph Forrest                    INV-2856                  1/8/2018          375.00
    24 JJ                                INV-2857                  1/8/2018          300.00
    25 Koay Peng Zhi                     INV-2858                  1/8/2018          300.00
    26 W J JONES                         INV-2859                  1/8/2018        1,250.00
    27 JJ                                INV-2860                  1/8/2018          300.00
    28 Nicholas McCord                   INV-2861                  1/8/2018          375.00
    29 CHUN MING LAI                     INV-2862                  1/8/2018          500.00
*   30 Sanjaykumar Thakur                INV-2863        -         1/8/2018          500.00                   500.00
    31 Yusuf Ahmed                       INV-2864                  1/8/2018          300.00
    32 bull                              INV-2865                  1/8/2018        1,000.00
    33 Soo Eok Kim                       INV-2866                  1/8/2018       12,500.00
    34 Harvinder Singh                   INV-2867                  1/8/2018          300.00
    35 Matthew Watrach                   INV-2868                  1/8/2018          400.00
    36 nareshchandra acharya nbINV-2869                            1/8/2018          625.00
    37 Wayne Liedermoy                   INV-2870                  1/8/2018        1,625.00
    38 Riyadh al othman                  INV-2871                  1/8/2018        1,500.00
    39 Aatif Luqman Zafar                INV-2872                  1/8/2018        1,575.00
*   40 Savio Gomez                       INV-2873        -         1/8/2018        2,000.00                  2,000.00
    41 Î•Î›Î•Î¥Î˜Î•Î¡Î™ÎŸÎ£ Î Î‘Î Î‘ÎÎ‘Î INV-2874                  1/8/2018          300.00
    42 Ravindra Bose Sowdi SundINV-2875                            1/8/2018        1,250.00
    43 Youngsam Kim                      INV-2876                  1/8/2018        1,250.00
    44 fabio dall'ora                    INV-2877                  1/8/2018          500.00
    45 Ramesh Giri                       INV-2878                  1/8/2018          300.00
    46 Jesse Puccio                      INV-2879                  1/8/2018        1,000.00
    47 Matthew Watrach                   INV-2880                  1/8/2018          301.00




                                                                                                                                                                               EX3134-001
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    48 Thomas Kyriakis         INV-2881              1/8/2018    1,000.00
    49 Thomas Kyriakis         INV-2882              1/8/2018      500.00
*   50 Madhav Prasad Sapkota   INV-2883        -     1/8/2018      375.00         375.00
    51 Paul Nunchuck           INV-2884              1/8/2018      625.00
    52 Min Hu                  INV-2885              1/8/2018    1,500.00
    53 youharim                INV-2886              1/8/2018      300.00
    54 Kimberly Biedenharn     INV-2887              1/8/2018      300.00
    55 Werner Kohlmeyer        INV-2888              1/8/2018      500.00
    56 Alan O'Donnell          INV-2889              1/8/2018    1,300.00
    57 Thomas Kyriakis         INV-2890              1/8/2018      800.00
    58 Alan O'Donnell          INV-2891              1/8/2018      600.00
    59 paul reid               INV-2892              1/8/2018      300.00
*   60 Martin Smit             INV-2893   1,187.50   1/8/2018    1,187.50                   Not Zero
    61 ê³ ë¯¼ì •               INV-2894              1/8/2018      500.00
    62 Ceslovas Kucinskas      INV-2895              1/8/2018      300.00
    63 Sam Eljaouhari          INV-2896              1/8/2018    8,000.00
    64 ragnar krooni           INV-2897              1/8/2018      300.00
    65 rob light               INV-2898              1/8/2018    3,000.00
    66 Damion Linder           INV-2899              1/8/2018      300.00
    67 Scott Zimmer            INV-2900              1/8/2018      300.00
    68 Sam Eljaouhari          INV-2901              1/8/2018   10,000.00
    69 Salvatore Coretto       INV-2902              1/8/2018      300.00
*   70 Justin Tripodi          INV-2903       -      1/8/2018    2,500.00        2,500.00
    71 Bar Punch Ranch         INV-2904              1/8/2018      300.00
    72 Ira Edgar               INV-2905              1/8/2018      300.00
    73 David corner            INV-2906              1/8/2018      500.00
    74 Sanjay Pandey           INV-2907              1/8/2018      650.00
    75 Stuart Spencer          INV-2908              1/8/2018    1,000.00
    76 Jill Martinez           INV-2909              1/8/2018      855.00
    77 Kimberly Biedenharn     INV-2910              1/8/2018      300.00
    78 Rad Pandit              INV-2911              1/8/2018      625.00
    79 Blanca Bourgeouis       INV-2912              1/8/2018      300.00
*   80 Stanley Roberts, Sr.    INV-2913       -      1/8/2018    1,200.00        1,200.00
    81 Michael Dolan           INV-2914              1/8/2018      625.00
    82 Manh nguyen             INV-2915              1/8/2018    1,200.00
    83 Manh nguyen             INV-2916              1/8/2018    1,500.00
    84 Claudio Zawitkowski     INV-2917              1/8/2018    1,250.00
    85 Jill Martinez           INV-2918              1/8/2018      500.00
    86 Lalit Patil             INV-2919              1/8/2018      300.00
    87 Sam Eljaouhari          INV-2920              1/8/2018    7,500.00
    88 Sonali Uchil            INV-2921              1/8/2018      300.00
    89 John                    INV-2922              1/8/2018      300.00
*   90 Gilad Yefet             INV-2923       -      1/8/2018      350.00         350.00
    91 Myrna Whiteheadm        INV-2924              1/8/2018      300.00
    92 Jason jansky            INV-2925              1/8/2018    1,250.00
    93 Jason jansky            INV-2926              1/8/2018    1,264.00
    94 burak                   INV-2927              1/8/2018      300.00
    95 Susumu Blackwolf        INV-2928              1/8/2018      375.00
    96 Wilfredo feliciano      INV-2929              1/8/2018      625.00




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     97 Philip Livingston            INV-2930            1/8/2018      875.00
     98 Shashi Yarlagadda            INV-2931            1/8/2018    1,000.00
     99 Stuart Durie                 INV-2932            1/8/2018      300.00
*   100 Matt Oldham                  INV-2933   350.00   1/8/2018      350.00                   Not Zero
    101 Luke Leonard                 INV-2934            1/8/2018      595.55
    102 Ben morgan                   INV-2935            1/8/2018      500.00
    103 Paddy                        INV-2936            1/8/2018      500.00
    104 Manh nguyen                  INV-2937            1/8/2018    1,000.00
    105 Matt Oldham                  INV-2938            1/8/2018    1,000.00
    106 Derek                        INV-2939            1/8/2018    1,250.00
    107 Sreenivasa Rao Potnuru INV-2940                  1/8/2018      500.00
    108 Eric itayev                  INV-2941            1/8/2018      425.00
    109 Marcia R Jones               INV-2942            1/8/2018      500.00
*   110 Jignesh patel                INV-2943   500.00   1/8/2018      500.00                   Not Zero
    111 Ekrem Mahmutaj               INV-2944            1/8/2018      600.00
    112 Niravkumar Bhavsar           INV-2945            1/8/2018      312.50
    113 Eyal                         INV-2946            1/8/2018      687.50
    114 Brooks Carter                INV-2947            1/8/2018      625.00
    115 GERARD PEETERS               INV-2948            1/8/2018    1,000.00
    116 John Durrett                 INV-2949            1/8/2018      300.00
    117 Billy Horton                 INV-2950            1/8/2018      300.00
    118 cleidir da luz espirito sant INV-2951            1/8/2018      300.00
    119 Youngsoo Na                  INV-2952            1/8/2018      400.00
*   120 Christopher                  INV-2953      -     1/8/2018    1,500.00        1,500.00
    121 Robin Mallett                INV-2954            1/8/2018    1,000.00
    122 SHIN EUN SEOP                INV-2955            1/8/2018      300.00
    123 Geovanny Valerio             INV-2956            1/8/2018      300.00
    124 Arvin Nakshan                INV-2957            1/8/2018      625.00
    125 Susumu Blackwolf             INV-2958            1/8/2018      500.00
    126 Tyler cox                    INV-2959            1/8/2018      350.00
    127 Linda Tripodi                INV-2960            1/8/2018    2,500.00
    128 Doug Davis                   INV-2961            1/8/2018      300.00
    129 kimjinyoung                  INV-2962            1/8/2018      635.00
*   130 Yohannes woldie              INV-2963      -     1/8/2018      300.00         300.00
    131 SHIN EUN SEOP                INV-2964            1/8/2018      300.00
    132 SHIN EUN SEOP                INV-2965            1/8/2018      300.00
    133 SHIN EUN SEOP                INV-2966            1/8/2018      300.00
    134 vincent                      INV-2967            1/8/2018      450.00
    135 George B DeKramer            INV-2968            1/8/2018      300.00
    136 George B DeKramer            INV-2969            1/8/2018      314.00
    137 vyacheslav stepanov          INV-2970            1/8/2018      625.00
    138 Daniel Parkison              INV-2971            1/8/2018    1,000.00
    139 Hyung Won Yoon               INV-2972            1/8/2018      280.00
*   140 Milad                        INV-2973   300.00   1/8/2018      300.00                   Not Zero
    141 Richard Ward                 INV-2974            1/8/2018    1,000.00
    142 BAE EUN JI                   INV-2975            1/8/2018      600.00
    143 BAE EUN JI                   INV-2976            1/8/2018      600.00
    144 BAE EUN JI                   INV-2977            1/8/2018      750.00
    145 Mirza Paglinawan             INV-2978            1/8/2018      300.00




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    146 Bulent                   INV-2979              1/8/2018      500.00
    147 kimjinyoung              INV-2980              1/8/2018      635.00
    148 Carmen Castro            INV-2981              1/8/2018      300.00
    149 poon chee chiang         INV-2982              1/8/2018      300.00
*   150 Gloria Mccalla           INV-2983    500.00    1/8/2018      500.00           Not Zero
    151 juan gonzalez            INV-2984              1/8/2018    1,000.00
    152 Tanmay Korgaonkar        INV-2985              1/8/2018      500.00
    153 Tanmay Korgaonkar        INV-2986              1/8/2018      400.00
    154 Tanmay Korgaonkar        INV-2987              1/8/2018      500.00
    155 Stephen Bronson          INV-2988              1/8/2018      875.00
    156 Pelligrino Bruno         INV-2989              1/8/2018      500.00
    157 Yair Halachmi            INV-2990              1/8/2018    2,018.75
    158 Stephen Bronson          INV-2991              1/8/2018      875.00
    159 Ajibade Olaghere         INV-2992              1/8/2018      600.00
*   160 Apichat Boonton          INV-2993    700.00    1/8/2018      700.00           Not Zero
    161 Clark Lynn               INV-2994              1/8/2018      400.00
    162 Ammar Ahmed              INV-2995              1/9/2018    1,500.00
    163 beajinyeol               INV-2996              1/9/2018      500.00
    164 Steven Chen              INV-2997              1/9/2018      300.00
    165 SONG JU YONG             INV-2998              1/9/2018      300.00
    166 Fred Green               INV-2999              1/9/2018      300.00
    167 Gary Lau                 INV-3000              1/9/2018      300.00
    168 Fred Green               INV-3001              1/9/2018      300.00
    169 mounir                   INV-3002              1/9/2018    5,000.00
*   170 parkminsoo               INV-3003    300.00    1/9/2018      300.00           Not Zero
    171 TINHRTT01                INV-3004              1/9/2018      300.00
    172 Syed Kamran Ali          INV-3005              1/9/2018    1,250.00
    173 Richard Christopher JohnsINV-3006              1/9/2018      300.00
    174 Mallikarjun              INV-3007              1/9/2018    1,800.00
    175 emanuel buciu            INV-3008              1/9/2018      500.00
    176 Ayman eldali             INV-3009              1/9/2018      400.00
    177 Hajaj M. Orainy          INV-3010              1/9/2018    1,000.00
    178 Assaad Elkhatib          INV-3011              1/9/2018      300.00
    179 joe Yee                  INV-3012              1/9/2018      500.00
*   180 hyunwook                 INV-3013   1,000.00   1/9/2018    1,000.00           Not Zero
    181 Anil Prabhakar           INV-3014              1/9/2018      300.00
    182 Richard Humphreys        INV-3015              1/9/2018      300.00
    183 Chung Kwong Yuew         INV-3016              1/9/2018   10,000.00   3
    184 Yeongsoo kim             INV-3017              1/9/2018      300.00
    185 Charlene Roberts         INV-3018              1/9/2018      450.00
    186 DAGAM KIM                INV-3019              1/9/2018      375.00
    187 Jascen Laliberte         INV-3020              1/9/2018    2,500.00
    188 John Varghese            INV-3021              1/9/2018    1,000.00
    189 shuvinder                INV-3022              1/9/2018      300.00
*   190 John Varghese            INV-3023    625.00    1/9/2018      625.00           Not Zero
    191 Jennifer Munoz           INV-3024              1/9/2018      300.00
    192 Everett Roberts          INV-3025              1/9/2018    1,500.00
    193 Everett Roberts          INV-3026              1/9/2018    1,875.00
    194 Dan Post                 INV-3027              1/9/2018    1,200.00




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    195 Jordan Tripodi         INV-3028            1/9/2018     2,500.00
    196 Syed Ali Asad Naqvi    INV-3029            1/9/2018       300.00
    197 Matthew Lopez          INV-3030            1/9/2018     1,014.00
    198 Justin Bayliff         INV-3031            1/9/2018       400.00
    199 Alexander Dube         INV-3032            1/9/2018       400.00
*   200 Frank Ginsburg         INV-3033   300.00   1/9/2018       300.00                Not Zero
    201 Manish Kumar           INV-3034            1/9/2018       300.00
    202 Anthony Faulkes        INV-3035            1/9/2018       800.00
    203 ìž¥í¬ì²                INV-3036            1/9/2018       300.00
    204 Thomas Fautrel         INV-3037            1/9/2018     5,000.00
    205 Sameh                  INV-3038            1/9/2018       300.00
    206 andy palermo           INV-3039            1/9/2018       300.00
    207 William d Tuttle       INV-3040            1/9/2018       350.00
    208 Michael Nguyen         INV-3041            1/9/2018       300.00
    209 Nguyen Duc Quy         INV-3042            1/9/2018       300.00
*   210 Hakeem Okoye           INV-3043   300.00   1/9/2018       300.00                Not Zero
    211 Jeremy Edwards         INV-3044            1/9/2018       300.00
    212 Rupert Graham          INV-3045            1/9/2018       300.00
    213 Kristy Hernandez       INV-3046            1/9/2018       300.00
    214 shin won joo           INV-3047            1/9/2018     1,700.00
    215 Maria Dominguez        INV-3048            1/9/2018       625.00
    216 Karl Ruzicka           INV-3049            1/9/2018       300.00
    217 Mirza Paglinawan       INV-3050            1/9/2018       300.00
    218 Alex Palm              INV-3051            1/9/2018       300.00
    219 Rayard Mohammed        INV-3052            1/9/2018       650.00
*   220 Brian                  INV-3053      -     1/9/2018       300.00       300.00
    221 stephen clarke         INV-3054            1/9/2018       650.00
    222 Bob                    INV-3055            1/9/2018     2,500.00
    223 Daniel Ferrendino      INV-3056            1/9/2018       500.00
    224 Pete                   INV-3057            1/9/2018       300.00
    225 Dragan Jankovic        INV-3058            1/9/2018       500.00
    226 Tonya Fulcher          INV-3059            1/9/2018       500.00
    227 Kim ji woong           INV-3060            1/9/2018       280.00
    228 Janine Pollard         INV-3061            1/9/2018       312.50
    229 Ankur Agarwal          INV-3062            1/9/2018       300.00
*   230 jorge gomez            INV-3063   300.00   1/9/2018       300.00                Not Zero
    231 craig edwards          INV-3064            1/9/2018     3,905.00
    232 Robert guy             INV-3065            1/9/2018       500.00
    233 jorge lendeborg        INV-3066            1/9/2018       625.00
    234 Pradeep Singhal        INV-3067            1/9/2018   125,000.00
    235 Jorge Castro           INV-3068            1/9/2018       600.00
    236 Albert Assenza         INV-3069            1/9/2018       300.00
    237 Prashanth Basavaraju   INV-3070            1/9/2018       300.00
    238 Kevork Krajian         INV-3071            1/9/2018       300.00
    239 vamsi Rao              INV-3072            1/9/2018       700.00
*   240 Rishi R Maharaj        INV-3073      -     1/9/2018       312.50       312.50
    241 sucheol                INV-3074            1/9/2018       300.00
    242 Don Brown              INV-3075            1/9/2018       300.00
    243 Tanmay Korgaonkar      INV-3076            1/9/2018       500.00




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    244 Goh Eng Ho             INV-3077               1/9/2018      375.00
    245 Naomi Watson Brown     INV-3078               1/9/2018      350.00
    246 Vasant Dhuri           INV-3079               1/9/2018      300.00
    247 Abraham Varghese       INV-3080               1/9/2018    3,000.00
    248 Doug                   INV-3081               1/9/2018    1,000.00
    249 KIM JONG GYOO          INV-3082               1/9/2018    1,000.00
*   250 Henri Perez            INV-3083    500.00     1/9/2018      500.00           Not Zero
    251 David Bi               INV-3084              1/10/2018      800.00
    252 Adam Biles             INV-3085              1/10/2018      861.00
    253 Mirza Paglinawan       INV-3086              1/10/2018      300.00
    254 Daniel Ranalan         INV-3087              1/10/2018      625.00
    255 Chris Waterhouse       INV-3088              1/10/2018    2,000.00
    256 Peter Sparks           INV-3089              1/10/2018      300.00
    257 Frankie McClendon      INV-3090              1/10/2018    2,500.00
    258 Seah Chin Tiong        INV-3091              1/10/2018      625.00
    259 Shoby Mannachanallur SeINV-3092              1/10/2018      500.00
*   260 SANDIPKUMAR BRAHMBHINV-3093        500.00    1/10/2018      500.00           Not Zero
    261 Bongkyu Song           INV-3094              1/10/2018    1,000.00
    262 Gernot Schmid          INV-3095              1/10/2018    1,500.00
    263 John kearney           INV-3096              1/10/2018    1,000.00
    264 brett tomlinson        INV-3097              1/10/2018    1,000.00
    265 DANIEL NEALE           INV-3098              1/10/2018      500.00
    266 Andrei sargu           INV-3099              1/10/2018    1,500.00
    267 venki das              INV-3100              1/10/2018      300.00
    268 marco                  INV-3101              1/10/2018    1,560.00
    269 marco                  INV-3102              1/10/2018    2,000.00
*   270 Seungwook Seo          INV-3103    300.00    1/10/2018      300.00           Not Zero
    271 Douglas Cornish        INV-3104              1/10/2018      300.00
    272 Krisada Chaiamnat      INV-3105              1/10/2018      300.00
    273 Michael O'Connor       INV-3106              1/10/2018      300.00
    274 ë°•í˜„ìš°              INV-3107              1/10/2018      300.00
    275 Hassan                 INV-3108              1/10/2018      500.00
    276 Mark Macaskill         INV-3109              1/10/2018      300.00
    277 Christian mejia        INV-3110              1/10/2018      500.00
    278 Sheeba                 INV-3111              1/10/2018      300.00
    279 ITTEHAD UL ISLAM       INV-3112              1/10/2018      300.00
*   280 se7en                  INV-3113    300.00    1/10/2018      300.00           Not Zero
    281 Gernot Schmid          INV-3114              1/10/2018      700.00
    282 Jason Appel            INV-3115              1/10/2018      300.00
    283 Brooks Carter          INV-3116              1/10/2018      625.00
    284 John Rintoul           INV-3117              1/10/2018      300.00
    285 Chris warbrick         INV-3118              1/10/2018    2,000.00
    286 Melissa Lieberman      INV-3119              1/10/2018    1,000.00
    287 marcus collins         INV-3120              1/10/2018      500.00
    288 Christian Poellabauer  INV-3121              1/10/2018      300.00
    289 kevi                   INV-3122              1/10/2018      300.00
*   290 Aiman Gamal Hamam      INV-3123   1,017.00   1/10/2018    1,017.00           Not Zero
    291 Marcus Law             INV-3124              1/10/2018      300.00
    292 David Rees             INV-3125              1/10/2018      500.00




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    293 Marcus Law              INV-3126              1/10/2018      400.00
    294 Michael Bartz           INV-3127              1/10/2018      450.00
    295 Quentin Lavorato        INV-3128              1/10/2018      300.00
    296 Frankie McClendon       INV-3129              1/10/2018    3,750.00
    297 alaeddine ben mansour   INV-3130              1/10/2018      440.00
    298 JAGJIT SINGH            INV-3131              1/10/2018    5,000.00
    299 Arvin Nakshan           INV-3132              1/10/2018    1,017.00
*   300 Arvin Nakshan           INV-3133   1,250.00   1/10/2018    1,250.00                   Not Zero
    301 Anna Walker             INV-3134              1/10/2018    1,000.00
    302 Marcia R Jones          INV-3135              1/10/2018      500.00
    303 Michael Bartz           INV-3136              1/10/2018      600.00
    304 jorge lendeborg         INV-3137              1/10/2018      625.00
    305 Jeffrey Cannings        INV-3138              1/10/2018      300.00
    306 Nicholas Wong           INV-3139              1/10/2018      400.00
    307 DEANDRE BADGETT         INV-3140              1/10/2018      300.00
    308 Robert Lawson           INV-3141              1/10/2018      300.00
    309 sona yeznaian           INV-3142              1/10/2018      440.00
*   310 sona yeznaian           INV-3143    440.00    1/10/2018      440.00                   Not Zero
    311 Skylar Jansen           INV-3144              1/10/2018      477.50
    312 Ronald Jackson          INV-3145              1/10/2018      400.00
    313 vicky balboa            INV-3146              1/10/2018      500.00
    314 John Durrett            INV-3147              1/10/2018      300.00
    315 james palermo           INV-3148              1/10/2018      650.00
    316 Geoff Begg              INV-3149              1/10/2018      750.00
    317 Debiraj Gurung          INV-3150              1/10/2018      900.00
    318 alaeddine ben mansour   INV-3151              1/10/2018      500.00
    319 Amy Ramirez             INV-3152              1/10/2018      500.00
*   320 Amy Ramirez             INV-3153    514.00    1/10/2018      514.00                   Not Zero
    321 Alan Greenblatt         INV-3154              1/10/2018      320.00
    322 Raul Torres             INV-3155              1/10/2018    1,250.00
    323 Alan Greenblatt         INV-3156              1/10/2018      300.00
    324 Daehong Koh             INV-3157              1/10/2018    5,000.00
    325 Marc                    INV-3158              1/10/2018    1,000.00
    326 Jamil Katou             INV-3159              1/10/2018      625.00
    327 Paul Garvey             INV-3160              1/10/2018    3,770.00
    328 Abel Timothy Wood       INV-3161              1/10/2018      350.00
    329 Therese Blake           INV-3162              1/10/2018      312.50
*   330 Daenna Frey             INV-3163       -      1/10/2018    5,000.00        5,000.00
    331 Manjunath Naik          INV-3164              1/10/2018      300.00
    332 Sebastian Wright        INV-3165              1/10/2018      300.00
    333 Rahulbedi               INV-3166              1/10/2018      300.00
    334 OH HAN WEE              INV-3167              1/10/2018    1,000.00
    335 Juris Zinbergs          INV-3168              1/10/2018    1,000.00
    336 Bongkyu Song            INV-3169              1/10/2018    1,000.00
    337 Charles Burr            INV-3170              1/10/2018      625.00
    338 Jabr                    INV-3171              1/10/2018      300.00
    339 Rick L Perkins          INV-3172              1/10/2018      300.00
*   340 Sam Sobania             INV-3173       -      1/10/2018    3,125.00        3,125.00
    341 DUANE VANACORE          INV-3174              1/11/2018      500.00




                                                                                                                        EX3134-007
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    342 Peter                  INV-3175            1/11/2018    1,000.00
    343 Craig Johnson          INV-3176            1/11/2018    1,500.00
    344 Yeo Boon Kiat          INV-3177            1/11/2018    1,000.00
    345 Jersson                INV-3178            1/11/2018      300.00
    346 Luis Angelo Batac      INV-3179            1/11/2018      375.00
    347 Luis Angelo Batac      INV-3180            1/11/2018      375.00
    348 rahulvirwal            INV-3181            1/11/2018      300.00
    349 Johann Doblander       INV-3182            1/11/2018      300.00
*   350 David Krzywonos        INV-3183   300.00   1/11/2018      300.00                 Not Zero
    351 Andrew Logan           INV-3184            1/11/2018    1,250.00
    352 skang                  INV-3185            1/11/2018      875.00
    353 Patrick Mafi           INV-3186            1/11/2018      300.00
    354 Anura Keerthisinghe    INV-3187            1/11/2018      625.00
    355 mounir                 INV-3188            1/11/2018    1,050.00
    356 Alan Doughouz          INV-3189            1/11/2018      300.00
    357 Ventura Esquivel       INV-3190            1/11/2018      300.00
    358 Paul Shilling          INV-3191            1/11/2018    1,250.00
    359 Jack Okorn             INV-3192            1/11/2018      500.00
*   360 Anil Kumar R.          INV-3193      -     1/11/2018      312.50        321.50
    361 bramhanand pothur      INV-3194            1/11/2018      310.00
    362 Andrei Liakhavets      INV-3195            1/11/2018      300.00
    363 Stephen Connolly       INV-3196            1/11/2018      405.00
    364 Mohd Razali Mohd Saleh INV-3197            1/11/2018      300.00
    365 Alok D Kashyap         INV-3198            1/11/2018      300.00
    366 kenneth horrocks       INV-3199            1/11/2018      300.00
    367 Shakhawat Khandaker    INV-3200            1/11/2018    2,500.00
    368 Christopher Paluck     INV-3201            1/11/2018      300.00
    369 Amy Ramirez            INV-3202            1/11/2018      314.00
*   370 Matthijs Koorn         INV-3203   300.00   1/11/2018      300.00                 Not Zero
    371 Derrick Anthony        INV-3204            1/11/2018      600.00
    372 Gary Marquez           INV-3205            1/11/2018      300.00
    373 Adrouche               INV-3206            1/11/2018      300.00
    374 geoff feinstein        INV-3207            1/11/2018      500.00
    375 Baron August           INV-3208            1/11/2018      500.00
    376 Stephen Jed            INV-3209            1/11/2018   43,750.00
    377 shahina                INV-3210            1/11/2018      500.00
    378 Julio Awesome          INV-3211            1/11/2018    1,250.00
    379 Ruchir                 INV-3212            1/11/2018    5,500.00
*   380 Jack                   INV-3213   320.00   1/11/2018      320.00                 Not Zero
    381 Vicente santana        INV-3214            1/11/2018      300.00
    382 Mehmet Can             INV-3215            1/11/2018    1,000.00
    383 Tim Oâ€™               INV-3216            1/11/2018      300.00
    384 Mike Stanton           INV-3217            1/11/2018    1,000.00
    385 James Great-House      INV-3218            1/11/2018      300.00
    386 Mr Evilscrys           INV-3219            1/11/2018      300.00
    387 Ron den Braber         INV-3220            1/11/2018      390.00
    388 John Baia              INV-3221            1/11/2018      300.00
    389 Kelly Warren           INV-3222            1/11/2018      500.00
*   390 John Varghese          INV-3223   500.00   1/11/2018      500.00                 Not Zero




                                                                                                                   EX3134-008
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    391 nashana D. Gillis      INV-3224              1/11/2018      300.00
    392 Stephen lincoln        INV-3225              1/11/2018      375.00
    393 Alex                   INV-3226              1/11/2018      300.00
    394 Beverly Jean Eastman   INV-3227              1/11/2018      300.00
    395 Mauricio Belando       INV-3228              1/11/2018      500.00
    396 Robert Ray             INV-3229              1/11/2018      300.00
    397 John lopez             INV-3230              1/11/2018      300.00
    398 Shane Logan            INV-3231              1/11/2018      300.00
    399 Michael Mercer         INV-3232              1/11/2018      625.00
*   400 Everett Roberts        INV-3233   1,000.00   1/11/2018    1,000.00           Not Zero
    401 Ronald I Roberts       INV-3234              1/11/2018    1,000.00
    402 Yh liew                INV-3235              1/11/2018      300.00
    403 Antony Matherson       INV-3236              1/11/2018    4,000.00
    404 niki moyer             INV-3237              1/11/2018      300.00
    405 Jungpil Eom            INV-3238              1/11/2018    5,000.00
    406 Gbenga Oke             INV-3239              1/11/2018      300.00
    407 Sky Benson             INV-3240              1/11/2018      500.00
    408 jaime rios             INV-3241              1/11/2018    2,000.00
    409 kan                    INV-3242              1/11/2018      300.00
*   410 Gabriel Obenson        INV-3243    300.00    1/11/2018      300.00           Not Zero
    411 Daniel Gidez           INV-3244              1/11/2018    1,000.00
    412 sarat                  INV-3245              1/11/2018      400.00
    413 Syd Trenowden          INV-3246              1/11/2018    1,250.00
    414 choiminho              INV-3247              1/12/2018      300.00
    415 anthony bryan          INV-3248              1/12/2018    1,250.00
    416 Hye Lin Kang           INV-3249              1/12/2018      300.00
    417 Hye Lin Kang           INV-3250              1/12/2018      300.00
    418 William Dukes          INV-3251              1/12/2018      400.00
    419 Ronald Valme           INV-3252              1/12/2018      300.00
*   420 Ashutosh Pathak        INV-3253    300.00    1/12/2018      300.00           Not Zero
    421 shibi keshri           INV-3254              1/12/2018      312.50
    422 Julio chavez           INV-3255              1/12/2018      300.00
    423 Sachin paudel          INV-3256              1/12/2018      625.00
    424 Sachin paudel          INV-3257              1/12/2018      625.00
    425 Sachin paudel          INV-3258              1/12/2018      625.00
    426 Sachin paudel          INV-3259              1/12/2018      625.00
    427 Sachin paudel          INV-3260              1/12/2018      625.00
    428 Jay Rose               INV-3261              1/12/2018      300.00
    429 Michael Critchley      INV-3262              1/12/2018      800.00
*   430 Georgina Barr          INV-3263   1,000.00   1/12/2018    1,000.00           Not Zero
    431 Graeme Soutar          INV-3264              1/12/2018      500.00
    432 Graeme Soutar          INV-3265              1/12/2018      500.00
    433 Georgina Barr          INV-3266              1/12/2018    1,000.00
    434 Gabriel Obenson        INV-3267              1/12/2018      300.00
    435 Graeme Soutar          INV-3268              1/12/2018      500.00
    436 Gabriel Obenson        INV-3269              1/12/2018      300.00
    437 Dexter                 INV-3270              1/12/2018    1,000.00
    438 Johnny wigle           INV-3271              1/12/2018      300.00
    439 Gabriel Obenson        INV-3272              1/12/2018      300.00




                                                                                                                  EX3134-009
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*   440 Dexter              INV-3273   1,000.00   1/12/2018     1,000.00                Not Zero
    441 Barry Wheeler       INV-3274              1/12/2018       300.00
    442 Rey Soriano         INV-3275              1/12/2018       300.00
    443 Graeme Soutar       INV-3276              1/12/2018       500.00
    444 Graeme Soutar       INV-3277              1/12/2018       300.00
    445 Stuart Knight       INV-3278              1/12/2018     1,000.00
    446 Jorge Barney        INV-3279              1/12/2018       300.00
    447 Saket Negandhi      INV-3280              1/12/2018       500.00
    448 Arnel G. Pelayo     INV-3281              1/12/2018       300.00
    449 Richard Randle      INV-3282              1/12/2018       625.00
*   450 Alexander Felix     INV-3283    500.00    1/12/2018       500.00                Not Zero
    451 Philip              INV-3284              1/12/2018    12,500.00
    452 jaime rios          INV-3285              1/12/2018     2,500.00
    453 Eric Tupker         INV-3286              1/12/2018       300.00
    454 Mark Rugare         INV-3287              1/12/2018       500.00
    455 Alexandra Lebedeff  INV-3288              1/12/2018       300.00
    456 TINHRTT01           INV-3289              1/12/2018       500.00
    457 Svetlana Raber      INV-3290              1/12/2018       625.00
    458 STEVE CORONADO SR   INV-3291              1/12/2018     2,500.00
    459 Amit Aery           INV-3292              1/12/2018       500.00
*   460 Michael Critchley   INV-3293       -      1/12/2018       700.00       700.00
    461 SYED HASAN MUZAFFAR INV-3294              1/12/2018       625.00
    462 Slawson             INV-3295              1/12/2018       300.00
    463 Ziyad Shah          INV-3296              1/12/2018       350.00
    464 Drew Sullivan       INV-3297              1/12/2018     1,250.00
    465 Block Bits Capital  INV-3298              1/12/2018   850,000.00
    466 David Story         INV-3299              1/12/2018       312.50
    467 Zaki N Kiriakos     INV-3300              1/12/2018       625.00
    468 Samuel Phillips     INV-3301              1/12/2018       650.00
    469 seunghoon lee       INV-3302              1/12/2018       500.00
*   470 Carlos Ortiz        INV-3303    300.00    1/12/2018       300.00                Not Zero
    471 Isabel Munoz        INV-3304              1/12/2018    35,000.00
    472 FINN ROGNSTAD       INV-3305              1/12/2018       300.00
    473 JEROME OHONBAMU     INV-3306              1/12/2018       405.00
    474 JEROME OHONBAMU     INV-3307              1/12/2018       422.00
    475 Sofia               INV-3308              1/12/2018       300.00
    476 Ugyen Thinley       INV-3309              1/12/2018       300.00
    477 Jeffrey Lafferman   INV-3310              1/12/2018     1,000.00
    478 joan peterson       INV-3311              1/12/2018       400.00
    479 Ugyen Thinley       INV-3312              1/12/2018     1,000.00
*   480 Barbara McIntyre    INV-3313       -      1/12/2018       300.00       300.00
    481 Carlos Aguilar      INV-3314              1/12/2018       300.00
    482 Safwen chebbi       INV-3315              1/12/2018       300.00
    483 James dunkleberger  INV-3316              1/12/2018     1,250.00
    484 Brian Chan          INV-3317              1/12/2018       312.50
    485 Gregory Miskie      INV-3318              1/12/2018     1,000.00
    486 taedeok Seo         INV-3319              1/12/2018     1,870.00
    487 Andres Zuniga       INV-3320              1/12/2018       312.00
    488 Milton              INV-3321              1/12/2018       500.00




                                                                                                                   EX3134-010
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    489 Kevork Krajian       INV-3322            1/12/2018      300.00
*   490 Chua Puay Chuan      INV-3323      -     1/12/2018      500.00        500.00
    491 KANG DONG HYOUN      INV-3324            1/12/2018      625.00
    492 eric hong            INV-3325            1/12/2018    1,250.00
    493 Abdullah Aldulaigan  INV-3326            1/12/2018   26,400.00
    494 Dave Bedsun          INV-3327            1/12/2018      625.00
    495 Shawn Evenson        INV-3328            1/12/2018      500.00
    496 Dhaval Manvar        INV-3329            1/12/2018      300.00
    497 Lim Kok yeow         INV-3330            1/13/2018      675.00
    498 Aris Suhardi         INV-3331            1/13/2018      300.00
    499 Mai Nguyen           INV-3332            1/13/2018    1,562.50
*   500 Igor                 INV-3333   300.00   1/13/2018      300.00                 Not Zero
    501 bondpiyu             INV-3334            1/13/2018      500.00
    502 SANDIPKUMAR BRAHMBHINV-3335              1/13/2018      300.00
    503 Peter Litson         INV-3336            1/13/2018      300.00
    504 KANG DONG HYOUN      INV-3337            1/13/2018      750.00
    505 Arsen Ayranjian      INV-3338            1/13/2018      300.00
    506 Sridhar Chari        INV-3339            1/13/2018    3,150.00
    507 Sridhar Chari        INV-3340            1/13/2018      375.00
    508 Mike Stanton         INV-3341            1/13/2018      500.00
    509 Josephine Clark      INV-3342            1/13/2018      887.50
*   510 Mirza Paglinawan     INV-3343   380.00   1/13/2018      380.00                 Not Zero
    511 German Avengoza      INV-3344            1/13/2018      300.00
    512 Adrian j king        INV-3345            1/13/2018      300.00
    513 Geoffroy             INV-3346            1/13/2018   12,500.00
    514 Vijay                INV-3347            1/13/2018      300.00
    515 Dave Robinson        INV-3348            1/13/2018      500.00
    516 Ronald Fung Chung    INV-3349            1/13/2018      320.00
    517 Ronald Fung Chung    INV-3350            1/13/2018      340.00
    518 Ronald Fung Chung    INV-3351            1/13/2018      340.00
    519 Inge Intven          INV-3352            1/13/2018      650.00
*   520 Dmitriy panteleev    INV-3353   500.00   1/13/2018      500.00                 Not Zero
    521 Malcolm              INV-3354            1/13/2018      300.00
    522 Robert Gorczycagroff INV-3355            1/13/2018      300.00
    523 MEHUL MEHTA          INV-3356            1/13/2018      300.00
    524 Sachin paudel        INV-3357            1/13/2018      625.00
    525 Ronald Fung Chung    INV-3358            1/13/2018      315.00
    526 Shane Alfonso        INV-3359            1/13/2018   15,000.00
    527 Emilio Vargas        INV-3360            1/13/2018      500.00
    528 Kaltun Farah         INV-3361            1/13/2018      300.00
    529 Shane Lott           INV-3362            1/13/2018      500.00
*   530 Wim van Rijswijk     INV-3363      -     1/13/2018      400.00        400.00
    531 Lim Bee Bee          INV-3364            1/13/2018      735.00
    532 Isam                 INV-3365            1/13/2018      300.00
    533 YIHYEJI              INV-3366            1/13/2018      300.00
    534 Carlos Colato        INV-3367            1/13/2018    1,250.00
    535 EliZabeth Osgood     INV-3368            1/13/2018      500.00
    536 DAPHNE SINGLETON     INV-3369            1/13/2018      500.00
    537 ROBERTO CEBALLOS ARAUINV-3370            1/13/2018      625.00




                                                                                                                  EX3134-011
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    538 Nick solomon         INV-3371            1/13/2018    1,000.00
    539 Yixiang              INV-3372            1/13/2018    1,000.00
*   540 Isabel Munoz         INV-3373      -     1/13/2018   35,000.00        35,000.00
    541 Georgina Barr        INV-3374            1/13/2018    1,000.00
    542 Julie Singer         INV-3375            1/13/2018      310.00
    543 Bechir               INV-3376            1/13/2018      300.00
    544 Rajesh Gopal         INV-3377            1/13/2018      300.00
    545 Juan Ramos           INV-3378            1/13/2018      300.00
    546 Alexander Prasievi   INV-3379            1/13/2018    1,000.00
    547 Deepak Thapa         INV-3380            1/13/2018      300.00
    548 Alexander Prasievi   INV-3381            1/13/2018    1,014.00
    549 Paul kraljevich      INV-3382            1/13/2018      600.00
*   550 Merkosh              INV-3383      -     1/13/2018      315.00          315.00
    551 Olga Fokina          INV-3384            1/13/2018      700.00
    552 Madhu Ginney         INV-3385            1/13/2018      300.00
    553 Lance Berberich      INV-3386            1/13/2018      300.00
    554 Kantilal Sangale     INV-3387            1/13/2018      300.00
    555 William Martin       INV-3388            1/13/2018      300.00
    556 Yeongseo YOUN        INV-3389            1/13/2018    5,000.00
    557 Bryan Townson        INV-3390            1/13/2018      300.00
    558 Garin Underwood      INV-3391            1/13/2018      300.00
    559 Abdulselam Abdella   INV-3392            1/13/2018      300.00
*   560 Earl J Spence Jr.    INV-3393      -     1/13/2018      437.50          437.50
    561 Andrew M             INV-3394            1/13/2018      312.50
    562 Jeanette Spoleti     INV-3395            1/13/2018    3,000.00
    563 Casey Johnson        INV-3396            1/13/2018    1,000.00
    564 Rod                  INV-3397            1/13/2018      300.00
    565 Gary Morgan          INV-3398            1/13/2018      300.00
    566 Rod                  INV-3399            1/13/2018      300.00
    567 Bryan Townson        INV-3400            1/13/2018      300.00
    568 Michel De Puydt      INV-3401            1/13/2018      300.00
    569 Derik Gomes          INV-3402            1/13/2018      300.00
*   570 Roman                INV-3403   300.00   1/13/2018      300.00                    Not Zero
    571 Norman Lance         INV-3404            1/13/2018      300.00
    572 David A Snyder       INV-3405            1/13/2018    1,000.00
    573 Noe morales          INV-3406            1/13/2018      300.00
    574 Fausto Castillo      INV-3407            1/13/2018    1,000.00
    575 Michael Lemoignan    INV-3408            1/13/2018      300.00
    576 Johann Monterrosa    INV-3409            1/13/2018      375.00
    577 Johann Monterrosa    INV-3410            1/13/2018      375.00
    578 Johann Monterrosa    INV-3411            1/13/2018      375.00
    579 Josh Tutwiler        INV-3412            1/13/2018    1,000.00
*   580 Alex                 INV-3413   300.00   1/13/2018      300.00                    Not Zero
    581 Ms Anisa Awan        INV-3414            1/13/2018      300.00
    582 rocky.wang           INV-3415            1/13/2018      300.00
    583 Crestvista Limited   INV-3416            1/13/2018      375.00
    584 Joey                 INV-3417            1/13/2018   12,500.00
    585 Joey                 INV-3418            1/13/2018    1,000.00
    586 junaid ahmed         INV-3419            1/13/2018      300.00




                                                                                                                     EX3134-012
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    587 12 crespigny road       INV-3420              1/13/2018   15,000.00
    588 Jeremy Weed             INV-3421              1/13/2018    1,000.00
    589 Suresh                  INV-3422              1/13/2018      300.00
*   590 insook song             INV-3423    930.00    1/13/2018      930.00            Not Zero
    591 Robert Smith            INV-3424              1/13/2018      500.00
    592 Tatyana Kab             INV-3425              1/13/2018      300.00
    593 Roy Vang                INV-3426              1/13/2018      300.00
    594 Lawrence Aaron Block    INV-3427              1/13/2018    1,000.00
    595 taedeok Seo             INV-3428              1/13/2018      930.00
    596 Kamolchai sukantawanichINV-3429               1/13/2018    2,500.00
    597 OSCAR NOEL JR LLOSE     INV-3430              1/13/2018    6,250.00
    598 Avinash Kumar Dubey     INV-3431              1/13/2018      300.00
    599 Arjoon Latchman         INV-3432              1/13/2018    2,500.00
*   600 Emmanuel Marcos         INV-3433   1,250.00   1/13/2018    1,250.00            Not Zero
    601 emmanuel marcos         INV-3434              1/13/2018    1,250.00
    602 Maggie Lee              INV-3435              1/13/2018      500.00
    603 taedeok Seo             INV-3436              1/13/2018      460.00
    604 Eric Hernandez          INV-3437              1/13/2018      300.00
    605 VÃ-ctor M Ramirez       INV-3438              1/13/2018    1,400.00
    606 HWA LAUM HO             INV-3439              1/13/2018    1,250.00
    607 moon byoung joon        INV-3440              1/13/2018    3,333.00
    608 girishgohil             INV-3441              1/13/2018      300.00
    609 VÃ-ctor M Ramirez       INV-3442              1/13/2018    1,875.00
*   610 Venkata Satyanarayana B INV-3443    300.00    1/13/2018      300.00            Not Zero
    611 VÃ-ctor M Ramirez       INV-3444              1/13/2018      625.00
    612 Pablo Barrera           INV-3445              1/13/2018    1,250.00
    613 woollmm                 INV-3446              1/13/2018      300.00
    614 Amitesh Mishra          INV-3447              1/13/2018      312.50
    615 DEVA Yenubari           INV-3448              1/14/2018      500.00
    616 Lim kheng ann           INV-3449              1/14/2018    1,125.00
    617 Wankanok                INV-3450              1/14/2018    2,000.00
    618 Matthew May             INV-3451              1/14/2018      312.50
    619 Pelligrino Bruno        INV-3452              1/14/2018      400.00
*   620 mohammed khalid         INV-3453   1,000.00   1/14/2018    1,000.00            Not Zero
    621 Rashmikant Ghevariya INV-3454                 1/14/2018    6,250.00
    622 hyung il mun            INV-3455              1/14/2018    4,000.00
    623 Jaekyung Koh            INV-3456              1/14/2018    3,750.00
    624 Omar Y K Alshaikhali    INV-3457              1/14/2018    2,720.00
    625 Janine Pollard          INV-3458              1/14/2018      612.50
    626 bitbitworld             INV-3459              1/14/2018    1,250.00
    627 Eric Jonathan Jones     INV-3460              1/14/2018      500.00
    628 bitbitworld             INV-3461              1/14/2018    2,500.00
    629 Brett                   INV-3462              1/14/2018      300.00
*   630 Iain Evans              INV-3463    300.00    1/14/2018      300.00            Not Zero
    631 Narendar Nelapatla      INV-3464              1/14/2018    1,000.00
    632 Ankit                   INV-3465              1/14/2018      302.50
    633 Bimal Prasad gyawali    INV-3466              1/14/2018      300.00
    634 Richard Woodward        INV-3467              1/14/2018      550.00
    635 Gert Haas               INV-3468              1/14/2018      500.00




                                                                                                                    EX3134-013
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    636 ELIE NAAMAN            INV-3469              1/14/2018    2,517.00
    637 Musab Elhimri          INV-3470              1/14/2018      300.00
    638 Bansal                 INV-3471              1/14/2018      300.00
    639 Heather Winpenny       INV-3472              1/14/2018      550.00
*   640 Elissa                 INV-3473    625.00    1/14/2018      625.00                 Not Zero
    641 mARLON SEECHRAN        INV-3474              1/14/2018      625.00
    642 Bassam Tabcharany      INV-3475              1/14/2018    1,267.00
    643 B C Teo                INV-3476              1/14/2018      300.00
    644 Samuel Grice           INV-3477              1/14/2018      500.00
    645 Tina N Nguyen          INV-3478              1/14/2018      900.00
    646 Saqlain Abbas          INV-3479              1/14/2018      300.00
    647 Mohamed Zakout         INV-3480              1/14/2018    6,250.00
    648 Mohamed Zakout         INV-3481              1/14/2018    6,250.00
    649 Mohamed Zakout         INV-3482              1/14/2018    5,000.00
*   650 Mohamed Zakout         INV-3483   4,000.00   1/14/2018    4,000.00                 Not Zero
    651 Mohamed Zakout         INV-3484              1/14/2018    4,375.00
    652 James Ong              INV-3485              1/14/2018      375.00
    653 Aaron Geistfeld        INV-3486              1/14/2018    1,250.00
    654 edward gardner         INV-3487              1/14/2018      300.00
    655 edward gardner         INV-3488              1/14/2018      300.00
    656 sudhakar palla         INV-3489              1/14/2018      500.00
    657 Vincent George         INV-3490              1/14/2018    4,750.00
    658 Rufus Morris           INV-3491              1/14/2018    1,250.00
    659 Meshari Salah Alkulaib INV-3492              1/14/2018   30,000.00
*   660 Haider Alhusseini      INV-3493    500.00    1/14/2018      500.00                 Not Zero
    661 YOUN MIN KEE           INV-3494              1/14/2018      300.00
    662 Shayne                 INV-3495              1/14/2018    1,000.00
    663 Andy Ramroop           INV-3496              1/14/2018      300.00
    664 Luiz                   INV-3497              1/14/2018      300.00
    665 Melissa Foteh          INV-3498              1/14/2018      300.00
    666 Nathan briggs          INV-3499              1/14/2018    1,525.00
    667 Aziz Denian            INV-3500              1/14/2018      700.00
    668 Muhammad Rashid        INV-3501              1/14/2018    1,500.00
    669 Suzie Traylor          INV-3502              1/14/2018      300.00
*   670 Mark humphreys         INV-3503   2,800.00   1/14/2018    2,800.00                 Not Zero
    671 Nived Joseph           INV-3504              1/14/2018    3,250.00
    672 Nived Joseph           INV-3505              1/14/2018    3,250.00
    673 Aziz Denian            INV-3506              1/14/2018    2,500.00
    674 Suzie Traylor          INV-3507              1/14/2018      400.00
    675 Vinod K Singh          INV-3508              1/14/2018      300.00
    676 Aziz Denian            INV-3509              1/14/2018    6,250.00
    677 Amitesh Mishra         INV-3510              1/14/2018      375.00
    678 Ashandeep Singh Khanna INV-3511              1/14/2018      300.00
    679 Marcus D Law           INV-3512              1/14/2018    2,500.00
*   680 Richard Woodward       INV-3513       -      1/14/2018      550.00        550.00
    681 JITESH RANGWANI        INV-3514              1/14/2018      307.00
    682 Graham Morris          INV-3515              1/14/2018      300.00
    683 Elena Cilingarjana     INV-3516              1/14/2018      625.00
    684 Marius Lazea           INV-3517              1/14/2018      400.00




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    685 Mouhsine                 INV-3518            1/14/2018      300.00
    686 Suzie Traylor            INV-3519            1/14/2018    1,000.00
    687 James dunkleberger       INV-3520            1/14/2018    1,250.00
    688 Maroof faiz              INV-3521            1/14/2018    1,250.00
    689 JULITA FRALEY            INV-3522            1/14/2018      625.00
*   690 Mitja Novak              INV-3523   480.00   1/14/2018      480.00                   Not Zero
    691 Bryan                    INV-3524            1/14/2018      300.00
    692 Abdullah Al Haroon       INV-3525            1/14/2018      300.00
    693 Bryan                    INV-3526            1/14/2018      300.00
    694 Ruth Giammanco           INV-3527            1/14/2018      300.00
    695 Jodelyn Sejour           INV-3528            1/14/2018    1,250.00
    696 Rohan Thimma Reddy       INV-3529            1/14/2018      800.00
    697 Ky Quy Lee               INV-3530            1/14/2018      500.00
    698 Douglas Glenn Eckstein   INV-3531            1/14/2018      300.00
    699 Subramani Rao            INV-3532            1/14/2018      500.00
*   700 Wilmar                   INV-3533   750.00   1/14/2018      750.00                   Not Zero
    701 Ryan Jensen              INV-3534            1/14/2018      300.00
    702 Patricia Kelley          INV-3535            1/14/2018      300.00
    703 Linda Lindsey            INV-3536            1/14/2018    2,500.00
    704 Cathy Cobey              INV-3537            1/14/2018      300.00
    705 Roger Fallows            INV-3538            1/14/2018      300.00
    706 Ugyen Thinley            INV-3539            1/14/2018    1,300.00
    707 JOSEPH P WILLS           INV-3540            1/14/2018      300.00
    708 aaron whitlock           INV-3541            1/14/2018      300.00
    709 Riccardo Arruzza         INV-3542            1/14/2018      500.00
*   710 Richard Ward             INV-3543      -     1/14/2018    1,014.00        1,014.00
    711 Harvy                    INV-3544            1/14/2018    1,000.00
    712 Josephine Clark          INV-3545            1/14/2018      937.50
    713 Dean                     INV-3546            1/14/2018      300.00
    714 Calvin Mackey            INV-3547            1/14/2018      300.00
    715 Issa                     INV-3548            1/14/2018      300.00
    716 BRETT HARRIS             INV-3549            1/14/2018      300.00
    717 Nenad Vrbancic           INV-3550            1/14/2018    1,000.00
    718 Jack Okorn               INV-3551            1/14/2018    1,000.00
    719 Salmon Ben Pinto         INV-3552            1/14/2018      300.00
*   720 Hashem Sakeen            INV-3553   337.50   1/14/2018      337.50                   Not Zero
    721 Premkumar Gaddam         INV-3554            1/14/2018      300.00
    722 maher r youssef          INV-3555            1/14/2018      300.00
    723 Khalid Mahmood           INV-3556            1/14/2018    2,000.00
    724 Shannon lott             INV-3557            1/14/2018    1,250.00
    725 Paul Velich              INV-3558            1/14/2018      500.00
    726 Ben D Lindsey-Wolcott    INV-3559            1/14/2018    2,250.00
    727 Adib Ferdosian           INV-3560            1/15/2018    2,500.00
    728 Felipe Pacheco           INV-3561            1/15/2018      500.00
    729 Nathan briggs            INV-3562            1/15/2018    2,000.00
*   730 Bridget Estes            INV-3563   312.50   1/15/2018      312.50                   Not Zero
    731 Neeraj Kumar Pandey      INV-3564            1/15/2018      300.00
    732 Khairil Syazwan Khalil   INV-3565            1/15/2018      312.50
    733 Simon                    INV-3566            1/15/2018      300.00




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    734 Nived Joseph           INV-3567            1/15/2018      325.50
    735 Nived Joseph           INV-3568            1/15/2018      325.00
    736 Chin Keong Chan        INV-3569            1/15/2018    1,000.00
    737 Sandeep                INV-3570            1/15/2018      300.00
    738 Gordon Wells           INV-3571            1/15/2018      300.00
    739 Aziz Denian            INV-3572            1/15/2018   12,500.00
*   740 Abdullah Aldulaigan    INV-3573      -     1/15/2018   25,700.00        25,700.00
    741 Jin Kwon               INV-3574            1/15/2018      625.00
    742 Daniel large           INV-3575            1/15/2018    1,000.00
    743 Gavin Oberholzer       INV-3576            1/15/2018    2,000.00
    744 JITESH RANGWANI        INV-3577            1/15/2018      300.00
    745 Mothfir                INV-3578            1/15/2018    6,743.00
    746 John Dodds             INV-3579            1/15/2018      300.00
    747 BRETT HARRIS           INV-3580            1/15/2018      500.00
    748 Lim Bee Bee            INV-3581            1/15/2018      300.00
    749 Shiela                 INV-3582            1/15/2018      300.00
*   750 Ruchitkumar            INV-3583   800.00   1/15/2018      800.00                    Not Zero
    751 Michael Flann          INV-3584            1/15/2018      650.00
    752 Hyun Kyu Lee           INV-3585            1/15/2018      300.00
    753 ìž¥ì¤€í˜               INV-3586            1/15/2018      300.00
    754 koliobb                INV-3587            1/15/2018      500.00
    755 Muhammad Tayyab        INV-3588            1/15/2018      312.00
    756 Rima                   INV-3589            1/15/2018      300.00
    757 ì „ì‹œìš°              INV-3590            1/15/2018    1,000.00
    758 B M Shivakumar         INV-3591            1/15/2018      300.00
    759 Mohammad Saleh         INV-3592            1/15/2018      300.00
*   760 Zaheer Abbas           INV-3593   300.00   1/15/2018      300.00                    Not Zero
    761 Steven lawrence        INV-3594            1/15/2018    1,000.00
    762 Ivo                    INV-3595            1/15/2018      300.00
    763 Jayakumar              INV-3596            1/15/2018      300.00
    764 Eui Rock Oh            INV-3597            1/15/2018      300.00
    765 Petar Velkovski        INV-3598            1/15/2018      375.00
    766 Nageswara Rao          INV-3599            1/15/2018      375.00
    767 Manish Gupta           INV-3600            1/15/2018      300.00
    768 Vijayadarshan Algari   INV-3601            1/15/2018      625.00
    769 Saed Rasouli           INV-3602            1/15/2018      300.00
*   770 Jeffrey MacLeod        INV-3603   300.00   1/15/2018      300.00                    Not Zero
    771 NameFlameMD            INV-3604            1/15/2018      300.00
    772 Ramakishore            INV-3605            1/15/2018      312.00
    773 Haren Nagodavithana    INV-3606            1/15/2018    1,250.00
    774 Anthony Howell         INV-3607            1/15/2018      300.00
    775 Wesley Wilson          INV-3608            1/15/2018    1,250.00
    776 Mallikarjuna Reddy     INV-3609            1/15/2018      312.50
    777 Mallikarjuna Reddy     INV-3610            1/15/2018      312.50
    778 Rajesh Gopal           INV-3611            1/15/2018      562.50
    779 Minh Ta                INV-3612            1/15/2018      300.00
*   780 Arun Mulka             INV-3613   300.00   1/15/2018      300.00                    Not Zero
    781 Emma                   INV-3614            1/15/2018      300.00
    782 Orest Fokine           INV-3615            1/15/2018      500.00




                                                                                                                       EX3134-016
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    783 Joonki                 INV-3616              1/15/2018      500.00
    784 TARIK KERBOUCI         INV-3617              1/15/2018   15,017.00
    785 michael clee           INV-3618              1/15/2018    2,000.00
    786 AWINASH WALAWALKAR INV-3619                  1/15/2018      300.00
    787 Raghid                 INV-3620              1/15/2018      625.00
    788 dexter chua            INV-3621              1/15/2018    1,250.00
    789 Enoch Tagoe            INV-3622              1/15/2018      300.00
*   790 Firdaus                INV-3623    300.00    1/15/2018      300.00                 Not Zero
    791 jose a Escalante       INV-3624              1/15/2018      300.00
    792 mohannad hanoun        INV-3625              1/15/2018      300.00
    793 Gary Morgan            INV-3626              1/15/2018      673.75
    794 Nuetey Mensah          INV-3627              1/15/2018      300.00
    795 Raza Muhammad          INV-3628              1/15/2018      300.00
    796 Nicholas McCord        INV-3629              1/15/2018      562.50
    797 Raza Muhammad          INV-3630              1/15/2018      300.00
    798 Gary Morgan            INV-3631              1/15/2018      815.75
    799 Lucas Bouchard         INV-3632              1/15/2018      300.00
*   800 Frederik Thaae         INV-3633              1/15/2018      500.00        500.00
    801 Joseph Lim             INV-3634              1/15/2018      300.00
    802 Raimondo Virciglio     INV-3635              1/15/2018    5,000.00
    803 Qis                    INV-3636              1/15/2018      300.00
    804 Brandon                INV-3637              1/15/2018      500.00
    805 Harinder Singh         INV-3638              1/15/2018    2,000.00
    806 Ron den Braber         INV-3639              1/15/2018      390.00
    807 ê¹€ë¯¼ì •              INV-3640              1/15/2018    2,816.00
    808 Muneyuki Takano        INV-3641              1/15/2018    1,800.00
    809 Mosi AMBONISYE         INV-3642              1/15/2018      300.00
*   810 Muneyuki Takano        INV-3643   1,440.00   1/15/2018    1,440.00                 Not Zero
    811 Mike Arora arora       INV-3644              1/15/2018      312.50
    812 Ashandeep Singh Khanna INV-3645              1/15/2018      940.00
    813 Ashandeep Singh Khanna INV-3646              1/15/2018      940.00
    814 Guenter Schumacher     INV-3647              1/15/2018      625.00
    815 Jon Carl Curtis        INV-3648              1/15/2018    8,500.00
    816 Lorne Crowley          INV-3649              1/15/2018      500.00
    817 Gary Morgan            INV-3650              1/15/2018      988.25
    818 Jesudunni              INV-3651              1/15/2018      300.00
    819 Mark humphreys         INV-3652              1/15/2018    3,500.00
*   820 Iulian Zanfir          INV-3653    350.00    1/15/2018      350.00                 Not Zero
    821 Walter Fordham         INV-3654              1/15/2018      625.00
    822 Donald Balentine       INV-3655              1/15/2018      312.50
    823 Zaheer Abbas           INV-3656              1/15/2018      300.00
    824 kenn lau               INV-3657              1/15/2018      300.00
    825 Rosalind Martinez      INV-3658              1/15/2018      300.00
    826 ì˜¤ë³‘ê´€              INV-3659              1/15/2018    1,000.00
    827 ì˜¤ë³‘ê´€              INV-3660              1/15/2018    1,000.00
    828 Rosalind Martinez      INV-3661              1/15/2018      300.00
    829 amin mashriqi          INV-3662              1/15/2018    4,500.00
*   830 alfred xin             INV-3663    625.00    1/15/2018      625.00                 Not Zero
    831 Raul Ruiz              INV-3664              1/15/2018      300.00




                                                                                                                      EX3134-017
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    832 Andy Viettry           INV-3665            1/15/2018      300.00
    833 Peter Vlacuha          INV-3666            1/15/2018      310.00
    834 jung seung hwan        INV-3667            1/15/2018      300.00
    835 Sreekanth Nadriga      INV-3668            1/15/2018      937.50
    836 Andrew Jones           INV-3669            1/15/2018      300.00
    837 Douglas Mclaughlin     INV-3670            1/15/2018      300.00
    838 Hyungju Jin            INV-3671            1/15/2018    1,000.00
    839 Jesudunni              INV-3672            1/15/2018      300.00
*   840 SHIN EUN SEOP          INV-3673      -     1/15/2018      300.00         300.00
    841 Herbert Tang           INV-3674            1/15/2018      500.00
    842 Isabel Munoz           INV-3675            1/15/2018   17,500.00
    843 Sanjay Pandey          INV-3676            1/15/2018      664.00
    844 Jonathan Carpino       INV-3677            1/15/2018      500.00
    845 Ventura Esquivel       INV-3678            1/15/2018      300.00
    846 Christina tran         INV-3679            1/15/2018    2,000.00
    847 Jermain Thompson       INV-3680            1/15/2018      300.00
    848 Jeremy Weed            INV-3681            1/15/2018    1,000.00
    849 Bimal Prasad gyawali   INV-3682            1/15/2018    1,000.00
*   850 Stevens lallemand      INV-3683   300.00   1/15/2018      300.00                   Not Zero
    851 ìμœì§„ì„               INV-3684            1/15/2018      300.00
    852 Eugene Stakhov         INV-3685            1/15/2018      300.00
    853 ìμœì§„ì„               INV-3686            1/15/2018    2,500.00
    854 Jose Cordero           INV-3687            1/15/2018      400.00
    855 Don                    INV-3688            1/15/2018    1,500.00
    856 Baron August           INV-3689            1/15/2018    2,000.00
    857 Don                    INV-3690            1/15/2018   10,000.00
    858 Don                    INV-3691            1/15/2018   10,000.00
    859 ìμœì§„ì„               INV-3692            1/15/2018    2,517.00
*   860 Jose Cordero           INV-3693   320.00   1/15/2018      320.00                   Not Zero
    861 ìμœì§„ì„               INV-3694            1/15/2018    2,500.00
    862 JUNIOR TONTEH          INV-3695            1/15/2018      312.00
    863 Ruchitkumar            INV-3696            1/15/2018      350.00
    864 Andrew M               INV-3697            1/15/2018      375.00
    865 Henry Mendez           INV-3698            1/15/2018    2,000.00
    866 Andrew M               INV-3699            1/15/2018      312.50
    867 David Lindsay          INV-3700            1/15/2018      300.00
    868 jaime mejia            INV-3701            1/15/2018      350.00
    869 Mahesh Lamsal          INV-3702            1/15/2018      300.00
*   870 Muneyuki Takano        INV-3703      -     1/15/2018    1,000.00        1,000.00
    871 Nikolai Denishchich    INV-3704            1/15/2018      500.00
    872 Galen Collins          INV-3705            1/15/2018      300.00
    873 Mahesh Lamsal          INV-3706            1/15/2018      314.00
    874 Miguel Desrosiers      INV-3707            1/15/2018      500.00
    875 Daniel Sullivan        INV-3708            1/15/2018      300.00
    876 Kyle                   INV-3709            1/15/2018      500.00
    877 Hoover Tolbert         INV-3710            1/15/2018      300.00
    878 Raymond J stachurski   INV-3711            1/15/2018      600.00
    879 Adam                   INV-3712            1/15/2018      512.50
*   880 Hoover Tolbert         INV-3713   300.00   1/15/2018      300.00                   Not Zero




                                                                                                                      EX3134-018
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    881 Sothearom Ros         INV-3714            1/15/2018      300.00
    882 Chong Choon           INV-3715            1/15/2018    2,600.00
    883 Glenwood Thomasl      INV-3716            1/15/2018    1,250.00
    884 Ezekial Koslosky      INV-3717            1/15/2018      937.00
    885 rinzen                INV-3718            1/15/2018      300.00
    886 Robert Empleo         INV-3719            1/15/2018      500.00
    887 Paul Tsombanidis      INV-3720            1/15/2018    1,000.00
    888 Joseph                INV-3721            1/15/2018    5,000.00
    889 Paul Tsombanidis      INV-3722            1/15/2018      312.50
*   890 Peter L Alcala        INV-3723   625.00   1/15/2018      625.00                   Not Zero
    891 Peter L Alcala        INV-3724            1/15/2018      625.00
    892 Jasen Raboin          INV-3725            1/15/2018    1,250.00
    893 Walter Fordham        INV-3726            1/15/2018      650.00
    894 JESSE POWERS          INV-3727            1/15/2018    6,000.00
    895 MISDIFIAN BIN UDDIN   INV-3728            1/15/2018      300.00
    896 Curt Jentsch          INV-3729            1/15/2018    1,500.00
    897 Fredrick Jackson      INV-3730            1/15/2018      500.00
    898 Varto Keshishian      INV-3731            1/15/2018    1,250.00
    899 Ghamay Mashriqi       INV-3732            1/15/2018      300.00
*   900 Damien                INV-3733   500.00   1/15/2018      500.00                   Not Zero
    901 Damien                INV-3734            1/15/2018    1,250.00
    902 Christina tran        INV-3735            1/15/2018    2,000.00
    903 Robert Todd           INV-3736            1/15/2018      300.00
    904 Yevgeniy Kostin       INV-3737            1/15/2018    2,500.00
    905 Paul Dal              INV-3738            1/15/2018    1,875.00
    906 Frankie McClendon     INV-3739            1/16/2018    6,250.00
    907 mike ivankovich       INV-3740            1/16/2018    2,500.00
    908 Michael Eoannou       INV-3741            1/16/2018    4,000.00
    909 Christopher Rood      INV-3742            1/16/2018      350.00
*   910 JUDITH BLEICHFELD     INV-3743      -     1/16/2018    5,000.00        5,000.00
    911 Michael Eoannou       INV-3744            1/16/2018    4,050.00
    912 Haren Nagodavithana   INV-3745            1/16/2018    1,017.00
    913 Peter dhaliwal        INV-3746            1/16/2018    3,000.00
    914 JUDITH BLEICHFELD     INV-3747            1/16/2018   10,000.00
    915 MISDIFIAN BIN UDDIN   INV-3748            1/16/2018      300.00
    916 Mageshvaren Gounden   INV-3749            1/16/2018      375.00
    917 Joker                 INV-3750            1/16/2018      500.00
    918 Dounia Alaoui         INV-3751            1/16/2018   20,017.00
    919 Ramakishore           INV-3752            1/16/2018      920.00
*   920 Eui Rock Oh           INV-3753      -     1/16/2018      300.00         300.00
    921 Mina gindi            INV-3754            1/16/2018      800.00
    922 Joonki                INV-3755            1/16/2018    1,850.00
    923 Aziz ahmet ÅŸeker     INV-3756            1/16/2018      300.00
    924 Paul King             INV-3757            1/16/2018      300.00
    925 KyuBin You            INV-3758            1/16/2018      300.00
    926 KyuBin You            INV-3759            1/16/2018      300.00
    927 Mayad Rassam          INV-3760            1/16/2018      300.00
    928 Aziz ahmet ÅŸeker     INV-3761            1/16/2018      300.00
    929 yassine cherradi      INV-3762            1/16/2018      300.00




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*   930 Jayden Smith            INV-3763        -     1/16/2018      300.00        300.00
    931 Caron Buckingham-Rhyde INV-3764               1/16/2018      400.00
    932 Thirumoorthy            INV-3765              1/16/2018      300.00
    933 Sonu Sam John           INV-3766              1/16/2018      300.00
    934 Avinash Patil           INV-3767              1/16/2018      300.00
    935 Haitham                 INV-3768              1/16/2018    2,500.00
    936 ABDALLAH EL KHOURY INV-3769                   1/16/2018    2,500.00
    937 Jason Mohamed           INV-3770              1/16/2018      300.00
    938 Ravi Soni               INV-3771              1/16/2018      300.00
    939 Craig Lang              INV-3772              1/16/2018      400.00
*   940 yogesh salokhe          INV-3773    300.00    1/16/2018      300.00                 Not Zero
    941 Jihad Khairallah        INV-3774              1/16/2018    1,875.00
    942 elias zeitouni          INV-3775              1/16/2018    5,000.00
    943 Carl Argent             INV-3776              1/16/2018    1,000.00
    944 Daniel Vuong            INV-3777              1/16/2018      312.50
    945 SACHIN KARARE           INV-3778              1/16/2018    1,250.00
    946 Stephen Berlinguette    INV-3779              1/16/2018    1,000.00
    947 Christa Boos            INV-3780              1/16/2018      300.00
    948 OVIE OBA                INV-3781              1/16/2018      300.00
    949 Frank Boos              INV-3782              1/16/2018      500.00
*   950 Eric Lambert            INV-3783   1,000.00   1/16/2018    1,000.00                 Not Zero
    951 Paul Tsombanidis        INV-3784              1/16/2018      375.00
    952 Thomas Macaluso         INV-3785              1/16/2018      300.00
    953 Paul Tsombanidis        INV-3786              1/16/2018      375.00
    954 Paul Tsombanidis        INV-3787              1/16/2018      375.00
    955 Christophe Decaestecker INV-3788              1/16/2018    6,280.00
    956 Jean-Philipp Batz       INV-3789              1/16/2018      750.00
    957 Alex Benisatto          INV-3790              1/16/2018      641.00
    958 Jodelyn Sejour          INV-3791              1/16/2018      312.50
    959 Arun Gupta              INV-3792              1/16/2018      300.00
*   960 yogesh salokhe          INV-3793    300.00    1/16/2018      300.00                 Not Zero
    961 David Odierno           INV-3794              1/16/2018      500.00
    962 Roberto Balute Jr       INV-3795              1/16/2018      300.00
    963 Prabha rajendran        INV-3796              1/16/2018      500.00
    964 MANASSE                 INV-3797              1/16/2018    1,500.00
    965 Gurcharan pasricha      INV-3798              1/16/2018      300.00
    966 Asif Khan               INV-3799              1/16/2018    2,000.00
    967 EliZabeth Osgood        INV-3800              1/16/2018    2,500.00
    968 Gary                    INV-3801              1/16/2018      300.00
    969 Shauna Palmer           INV-3802              1/16/2018      300.00
*   970 Olga Fokina             INV-3803       -      1/16/2018      300.00        300.00
    971 Joseph Tarzy            INV-3804              1/16/2018      300.00
    972 ABDUL MAJID CHILWAN INV-3805                  1/16/2018    1,500.00
    973 Suvajit Bhadra          INV-3806              1/16/2018      300.00
    974 Tibor Okros             INV-3807              1/16/2018    3,500.00
    975 MURTAZA ALI             INV-3808              1/16/2018    1,050.00
    976 Ricardo I Alcala        INV-3809              1/16/2018      300.00
    977 Melvin L Adams          INV-3810              1/16/2018      345.00
    978 Raman Kamra             INV-3811              1/16/2018      300.00




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     979 Peter Post               INV-3812              1/16/2018      500.00
*    980 Hoa Huynh Nguyen         INV-3813   5,000.00   1/16/2018    5,000.00            Not Zero
     981 jacques brisson          INV-3814              1/16/2018      300.00
     982 jacques brisson          INV-3815              1/16/2018      300.00
     983 Drew Sullivan            INV-3816              1/16/2018      900.00
     984 ROBERTO CANUL CASTRO INV-3817                  1/16/2018      300.00
     985 Åžahin                   INV-3818              1/16/2018      300.00
     986 Hyun Jung Noh            INV-3819              1/16/2018      500.00
     987 Daniele Cognolato        INV-3820              1/16/2018      450.00
     988 Edwin Lim                INV-3821              1/16/2018      300.00
     989 Artak Avetisyan          INV-3822              1/16/2018      300.00
     990 Dallier                  INV-3823              1/16/2018      750.00
     991 Arun                     INV-3824              1/16/2018      300.00
     992 Arun                     INV-3825              1/16/2018      495.00
     993 Harish Raju Govinda Raju INV-3826              1/16/2018      300.00
     994 Angelo                   INV-3827              1/16/2018      400.00
     995 jungho9794               INV-3828              1/16/2018      454.00
     996 Shiv                     INV-3829              1/16/2018      499.50
     997 Raul Narvasa             INV-3830              1/16/2018    1,000.00
     998 Marek Wojtowicz          INV-3831              1/16/2018      420.00
     999 Chai Veetaine            INV-3832              1/16/2018    1,000.00
    1000 Danny                    INV-3833              1/16/2018      500.00
    1001 Assem Al Mor             INV-3834              1/17/2018      300.00
    1002 Hoy Cheong Wong          INV-3835              1/17/2018      300.00
    1003 Narasimha Sastry Vadali INV-3836               1/17/2018      300.00
    1004 Narasimha Sastry Vadali INV-3837               1/17/2018      301.50
    1005 Samuel Alin Pancu        INV-3838              1/17/2018    2,000.00
    1006 Bram leysen              INV-3839              1/17/2018    1,000.00
    1007 Andor Pasztor            INV-3840              1/17/2018      375.00
    1008 Bhanu Prakash Aturi      INV-3841              1/17/2018      300.00
    1009 Ali mohammed hasan       INV-3842              1/17/2018      300.00
    1010 moon byoung joon         INV-3843              1/17/2018    1,000.00
    1011 samy samy                INV-3844              1/17/2018    1,500.00
    1012 hong                     INV-3845              1/17/2018      300.00
    1013 ì´ê²½ìˆ˜                 INV-3846              1/17/2018      300.00
    1014 hong                     INV-3847              1/17/2018      317.00
    1015 Bartosz Gesner           INV-3848              1/17/2018      375.00
    1016 Ryan Crompton            INV-3849              1/17/2018      300.00
    1017 shefi goldberg           INV-3850              1/17/2018      300.00
    1018 ALDA                     INV-3851              1/17/2018    1,500.00
    1019 Jeff                     INV-3852              1/17/2018    3,000.00
    1020 Romeo Vinas              INV-3853              1/17/2018      750.00
    1021 Neil                     INV-3854              1/17/2018      300.00
    1022 ATRACOM Kft. Attila GyÃ¼INV-3855               1/17/2018      300.00
    1023 Maurice James Toal       INV-3856              1/17/2018    1,500.00
    1024 cerber                   INV-3857              1/17/2018      300.00
    1025 Josh                     INV-3858              1/17/2018    3,000.00
    1026 Jeff                     INV-3859              1/17/2018    3,000.00
    1027 Amina Osman              INV-3860              1/17/2018      300.00




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1028 Bruce Park                INV-3861               1/17/2018        900.00
1029 raafate                   INV-3862               1/17/2018        300.00
1030 Francis                   INV-3863               1/17/2018        300.00
1031 Julian white              INV-3864               1/17/2018        300.00
1032 mark creedon              INV-3865               1/17/2018        300.00
1033 Declan McCluskey          INV-3866               1/17/2018        300.00
1034 LAMOULEN                  INV-3867               1/17/2018      3,600.00
1035 Nicolas Canon             INV-3868               1/17/2018        300.00
1036 Rashmikant Ghevariya      INV-3869               1/17/2018      7,500.00
1037 Fausto Castillo           INV-3870               1/17/2018      1,500.00
1038 Erlinda Buising           INV-3871               1/17/2018        300.00
1039 Suzanne Blades            INV-3872               1/17/2018        600.00
1040 John Nichols              INV-3873               1/17/2018        876.00
1041 THIEU HUY HOANG           INV-3874               1/17/2018        300.00
1042 Jack Fallon               INV-3875               1/17/2018        350.00
1043 John David Hyatt          INV-3876               1/17/2018        300.00
1044 Victor                    INV-3877               1/17/2018        300.00
1045 Jack Fallon               INV-3878               1/17/2018        350.00
1046 CHOONG HO JE              INV-3879               1/17/2018        300.00
1047 Ferina Manecksha          INV-3880               1/17/2018        300.00
1048 Christian Mejia Ramirez   INV-3881               1/17/2018        950.00
1049 Gaus                      INV-3882               1/17/2018        300.00
1050 kiet ly                   INV-3883               1/17/2018        300.00
1051 Boh boon wee              INV-3884               1/17/2018        300.00
1052 Boh boon wee              INV-3885               1/17/2018        700.00

                                          46,928.50               2,254,991.55      90,400.50




                                                                                                                        EX3134-022
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1050 kiet ly                        INV-3883   1/17/2018   300.00   AML Token Sale deposit to account
1051 Boh boon wee                   INV-3884   1/17/2018   300.00   AML Token Sale deposit to account
1052 Boh boon wee                   INV-3885   1/17/2018   700.00   AML Token Sale deposit to account




                                                                                                               EX3134-044
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   customer                          account_nuemail   address_1 address_2 city   state   postal_cod country   number purchase_odate              due_date             currency   total         3   item     description quantity unit_cost line_total discount tax
 1 Suzette van Reede van Ou                                                                                    INV-2834                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
 2 WON JIN LEE                                                                                                 INV-2835                1/8/2018              1/18/2018 usd           3,750.00       AML Token Sale depos         1     3750       3750         0      0
 3 Elissa                                                                                                      INV-2836                1/8/2018              1/18/2018 usd             312.50       AML Token Sale depos         1     312.5      312.5        0      0
 4 Omar Y K Alshaikhali                                                                                        INV-2837                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
 5 Sam                                                                                                         INV-2838                1/8/2018              1/18/2018 usd             400.00       AML Token Sale depos         1      400        400         0      0
 6 Enache Gica                                                                                                 INV-2839                1/8/2018              1/18/2018 usd           1,000.00       AML Token Sale depos         1     1000       1000         0      0
 7 WON JIN LEE                                                                                                 INV-2840                1/8/2018              1/18/2018 usd           4,625.00       AML Token Sale depos         1     4625       4625         0      0
 8 Joseph Jreige                                                                                               INV-2841                1/8/2018              1/18/2018 usd           5,000.00       AML Token Sale depos         1     5000       5000         0      0
 9 Christiandel Rosales                                                                                        INV-2842                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
10 Dean Ryan                                                                                                   INV-2843                1/8/2018              1/18/2018 usd             500.00       AML Token Sale depos         1      500        500         0      0
11 Desalegn                                                                                                    INV-2844                1/8/2018              1/18/2018 usd             550.00       AML Token Sale depos         1      550        550         0      0
12 David N. Starr                                                                                              INV-2845                1/8/2018              1/18/2018 usd             625.00       AML Token Sale depos         1      625        625         0      0
13 Josh Kuriakose                                                                                              INV-2846                1/8/2018              1/18/2018 usd             400.00       AML Token Sale depos         1      400        400         0      0
14 Youngsoo Na                                                                                                 INV-2847                1/8/2018              1/18/2018 usd             600.00       AML Token Sale depos         1      600        600         0      0
15 WON JIN LEE                                                                                                 INV-2848                1/8/2018              1/18/2018 usd             937.50       AML Token Sale depos         1     937.5      937.5        0      0
16 Daniel D Feeney                                                                                             INV-2849                1/8/2018              1/18/2018 usd             900.00       AML Token Sale depos         1      900        900         0      0
17 Kim HyunDong                                                                                                INV-2850                1/8/2018              1/18/2018 usd           1,250.00       AML Token Sale depos         1     1250       1250         0      0
18 Christopher Katigbak                                                                                        INV-2851                1/8/2018              1/18/2018 usd             625.00       AML Token Sale depos         1      625        625         0      0
19 Darren Eilersen                                                                                             INV-2852                1/8/2018              1/18/2018 usd           1,000.00       AML Token Sale depos         1     1000       1000         0      0
20 Zahid Habib Alimulla                                                                                        INV-2853                1/8/2018              1/18/2018 usd           1,000.00       AML Token Sale depos         1     1000       1000         0      0
21 Eyal                                                                                                        INV-2854                1/8/2018              1/18/2018 usd             312.50       AML Token Sale depos         1     312.5      312.5        0      0
22 Isaac gonzalez                                                                                              INV-2855                1/8/2018              1/18/2018 usd             390.00       AML Token Sale depos         1      390        390         0      0
23 Joseph Forrest                                                                                              INV-2856                1/8/2018              1/18/2018 usd             375.00       AML Token Sale depos         1      375        375         0      0
24 JJ                                                                                                          INV-2857                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
25 Koay Peng Zhi                                                                                               INV-2858                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
26 W J JONES                                                                                                   INV-2859                1/8/2018              1/18/2018 usd           1,250.00       AML Token Sale depos         1     1250       1250         0      0
27 JJ                                                                                                          INV-2860                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
28 Nicholas McCord                                                                                             INV-2861                1/8/2018              1/18/2018 usd             375.00       AML Token Sale depos         1      375        375         0      0
29 CHUN MING LAI                                                                                               INV-2862                1/8/2018              1/18/2018 usd             500.00       AML Token Sale depos         1      500        500         0      0
30 Sanjaykumar Thakur                                                                                          INV-2863                1/8/2018              1/18/2018 usd             500.00       AML Token Sale depos         1      500        500         0      0
31 Yusuf Ahmed                                                                                                 INV-2864                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
32 bull                                                                                                        INV-2865                1/8/2018              1/18/2018 usd           1,000.00       AML Token Sale depos         1     1000       1000         0      0
33 Soo Eok Kim                                                                                                 INV-2866                1/8/2018              1/18/2018 usd          12,500.00       AML Token Sale depos         1    12500      12500         0      0
34 Harvinder Singh                                                                                             INV-2867                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
35 Matthew Watrach                                                                                             INV-2868                1/8/2018              1/18/2018 usd             400.00       AML Token Sale depos         1      400        400         0      0
36 nareshchandra acharya nb                                                                                    INV-2869                1/8/2018              1/18/2018 usd             625.00       AML Token Sale depos         1      625        625         0      0
37 Wayne Liedermoy                                                                                             INV-2870                1/8/2018              1/18/2018 usd           1,625.00       AML Token Sale depos         1     1625       1625         0      0
38 Riyadh al othman                                                                                            INV-2871                1/8/2018              1/18/2018 usd           1,500.00       AML Token Sale depos         1     1500       1500         0      0
39 Aatif Luqman Zafar                                                                                          INV-2872                1/8/2018              1/18/2018 usd           1,575.00       AML Token Sale depos         1     1575       1575         0      0
40 Savio Gomez                                                                                                 INV-2873                1/8/2018              1/18/2018 usd           2,000.00       AML Token Sale depos         1     2000       2000         0      0
41 Î•Î›Î•Î¥Î˜Î•Î¡Î™ÎŸÎ£ Î Î‘Î Î‘ÎÎ‘Î                                                                           INV-2874                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
42 Ravindra Bose Sowdi Sund                                                                                    INV-2875                1/8/2018              1/18/2018 usd           1,250.00       AML Token Sale depos         1     1250       1250         0      0
43 Youngsam Kim                                                                                                INV-2876                1/8/2018              1/18/2018 usd           1,250.00       AML Token Sale depos         1     1250       1250         0      0
44 fabio dall'ora                                                                                              INV-2877                1/8/2018              1/18/2018 usd             500.00       AML Token Sale depos         1      500        500         0      0
45 Ramesh Giri                                                                                                 INV-2878                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
46 Jesse Puccio                                                                                                INV-2879                1/8/2018              1/18/2018 usd           1,000.00       AML Token Sale depos         1     1000       1000         0      0
47 Matthew Watrach                                                                                             INV-2880                1/8/2018              1/18/2018 usd             301.00       AML Token Sale depos         1      301        301         0      0
48 Thomas Kyriakis                                                                                             INV-2881                1/8/2018              1/18/2018 usd           1,000.00       AML Token Sale depos         1     1000       1000         0      0
49 Thomas Kyriakis                                                                                             INV-2882                1/8/2018              1/18/2018 usd             500.00       AML Token Sale depos         1      500        500         0      0
50 Madhav Prasad Sapkota                                                                                       INV-2883                1/8/2018              1/18/2018 usd             375.00       AML Token Sale depos         1      375        375         0      0
51 Paul Nunchuck                                                                                               INV-2884                1/8/2018              1/18/2018 usd             625.00       AML Token Sale depos         1      625        625         0      0
52 Min Hu                                                                                                      INV-2885                1/8/2018              1/18/2018 usd           1,500.00       AML Token Sale depos         1     1500       1500         0      0
53 youharim                                                                                                    INV-2886                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
54 Kimberly Biedenharn                                                                                         INV-2887                1/8/2018              1/18/2018 usd             300.00       AML Token Sale depos         1      300        300         0      0
55 Werner Kohlmeyer                                                                                            INV-2888                1/8/2018              1/18/2018 usd             500.00       AML Token Sale depos         1      500        500         0      0




                                                                                                                                                                                                                                                 EX3134-045
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 56 Alan O'Donnell                                   INV-2889     1/8/2018       1/18/2018 usd    1,300.00   AML Token Sale depos   1    1300     1300    0     0
 57 Thomas Kyriakis                                  INV-2890     1/8/2018       1/18/2018 usd      800.00   AML Token Sale depos   1     800      800    0     0
 58 Alan O'Donnell                                   INV-2891     1/8/2018       1/18/2018 usd      600.00   AML Token Sale depos   1     600      600    0     0
 59 paul reid                                        INV-2892     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 60 Martin Smit                                      INV-2893     1/8/2018       1/18/2018 usd    1,187.50   AML Token Sale depos   1   1187.5   1187.5   0     0
 61 ê³ ë¯¼ì •                                        INV-2894     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
 62 Ceslovas Kucinskas                               INV-2895     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 63 Sam Eljaouhari                                   INV-2896     1/8/2018       1/18/2018 usd    8,000.00   AML Token Sale depos   1    8000     8000    0     0
 64 ragnar krooni                                    INV-2897     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 65 rob light                                        INV-2898     1/8/2018       1/18/2018 usd    3,000.00   AML Token Sale depos   1    3000     3000    0     0
 66 Damion Linder                                    INV-2899     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 67 Scott Zimmer                                     INV-2900     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 68 Sam Eljaouhari                                   INV-2901     1/8/2018       1/18/2018 usd   10,000.00   AML Token Sale depos   1   10000    10000    0     0
 69 Salvatore Coretto                                INV-2902     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 70 Justin Tripodi                                   INV-2903     1/8/2018       1/18/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0     0
 71 Bar Punch Ranch                                  INV-2904     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 72 Ira Edgar                                        INV-2905     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 73 David corner                                     INV-2906     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
 74 Sanjay Pandey                                    INV-2907     1/8/2018       1/18/2018 usd      650.00   AML Token Sale depos   1     650      650    0     0
 75 Stuart Spencer                                   INV-2908     1/8/2018       1/18/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
 76 Jill Martinez                                    INV-2909     1/8/2018       1/18/2018 usd      855.00   AML Token Sale depos   1     855      855    0     0
 77 Kimberly Biedenharn                              INV-2910     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 78 Rad Pandit                                       INV-2911     1/8/2018       1/18/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
 79 Blanca Bourgeouis                                INV-2912     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 80 Stanley Roberts, Sr.                             INV-2913     1/8/2018       1/18/2018 usd    1,200.00   AML Token Sale depos   1    1200     1200    0     0
 81 Michael Dolan                                    INV-2914     1/8/2018       1/18/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
 82 Manh nguyen                                      INV-2915     1/8/2018       1/18/2018 usd    1,200.00   AML Token Sale depos   1    1200     1200    0     0
 83 Manh nguyen                                      INV-2916     1/8/2018       1/18/2018 usd    1,500.00   AML Token Sale depos   1    1500     1500    0     0
 84 Claudio Zawitkowski                              INV-2917     1/8/2018       1/18/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0     0
 85 Jill Martinez                                    INV-2918     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
 86 Lalit Patil                                      INV-2919     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 87 Sam Eljaouhari                                   INV-2920     1/8/2018       1/18/2018 usd    7,500.00   AML Token Sale depos   1    7500     7500    0     0
 88 Sonali Uchil                                     INV-2921     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 89 John                                             INV-2922     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 90 Gilad Yefet                                      INV-2923     1/8/2018       1/18/2018 usd      350.00   AML Token Sale depos   1     350      350    0     0
 91 Myrna Whiteheadm                                 INV-2924     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 92 Jason jansky                                     INV-2925     1/8/2018       1/18/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0     0
 93 Jason jansky                                     INV-2926     1/8/2018       1/18/2018 usd    1,264.00   AML Token Sale depos   1    1264     1264    0     0
 94 burak                                            INV-2927     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
 95 Susumu Blackwolf                                 INV-2928     1/8/2018       1/18/2018 usd      375.00   AML Token Sale depos   1     375      375    0     0
 96 Wilfredo feliciano                               INV-2929     1/8/2018       1/18/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
 97 Philip Livingston                                INV-2930     1/8/2018       1/18/2018 usd      875.00   AML Token Sale depos   1     875      875    0     0
 98 Shashi Yarlagadda                                INV-2931     1/8/2018       1/18/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
 99 Stuart Durie                                     INV-2932     1/8/2018       1/18/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
100 Matt Oldham                                      INV-2933     1/8/2018       1/18/2018 usd      350.00   AML Token Sale depos   1     350      350    0     0
101 Luke Leonard                                     INV-2934     1/8/2018       1/18/2018 usd      595.55   AML Token Sale depos   1   595.55   595.55   0     0
102 Ben morgan                                       INV-2935     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
103 Paddy                                            INV-2936     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
104 Manh nguyen                                      INV-2937     1/8/2018       1/18/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
105 Matt Oldham                                      INV-2938     1/8/2018       1/18/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
106 Derek                                            INV-2939     1/8/2018       1/18/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0     0
107 Sreenivasa Rao Potnuru                           INV-2940     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
108 Eric itayev                                      INV-2941     1/8/2018       1/18/2018 usd      425.00   AML Token Sale depos   1     425      425    0     0
109 Marcia R Jones                                   INV-2942     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
110 Jignesh patel                                    INV-2943     1/8/2018       1/18/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
111 Ekrem Mahmutaj                                   INV-2944     1/8/2018       1/18/2018 usd      600.00   AML Token Sale depos   1     600      600    0     0




                                                                                                                                                   EX3134-046
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224 Pete                                              INV-3057      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
225 Dragan Jankovic                                   INV-3058      1/9/2018       1/19/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
226 Tonya Fulcher                                     INV-3059      1/9/2018       1/19/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
227 Kim ji woong                                      INV-3060      1/9/2018       1/19/2018 usd       280.00   AML Token Sale depos   1      280       280    0    0
228 Janine Pollard                                    INV-3061      1/9/2018       1/19/2018 usd       312.50   AML Token Sale depos   1     312.5     312.5   0    0
229 Ankur Agarwal                                     INV-3062      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
230 jorge gomez                                       INV-3063      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
231 craig edwards                                     INV-3064      1/9/2018       1/19/2018 usd     3,905.00   AML Token Sale depos   1     3905      3905    0    0
232 Robert guy                                        INV-3065      1/9/2018       1/19/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
233 jorge lendeborg                                   INV-3066      1/9/2018       1/19/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
234 Pradeep Singhal                                   INV-3067      1/9/2018       1/19/2018 usd   125,000.00   AML Token Sale depos   1   125000    125000    0    0
235 Jorge Castro                                      INV-3068      1/9/2018       1/19/2018 usd       600.00   AML Token Sale depos   1      600       600    0    0
236 Albert Assenza                                    INV-3069      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
237 Prashanth Basavaraju                              INV-3070      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
238 Kevork Krajian                                    INV-3071      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
239 vamsi Rao                                         INV-3072      1/9/2018       1/19/2018 usd       700.00   AML Token Sale depos   1      700       700    0    0
240 Rishi R Maharaj                                   INV-3073      1/9/2018       1/19/2018 usd       312.50   AML Token Sale depos   1     312.5     312.5   0    0
241 sucheol                                           INV-3074      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
242 Don Brown                                         INV-3075      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
243 Tanmay Korgaonkar                                 INV-3076      1/9/2018       1/19/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
244 Goh Eng Ho                                        INV-3077      1/9/2018       1/19/2018 usd       375.00   AML Token Sale depos   1      375       375    0    0
245 Naomi Watson Brown                                INV-3078      1/9/2018       1/19/2018 usd       350.00   AML Token Sale depos   1      350       350    0    0
246 Vasant Dhuri                                      INV-3079      1/9/2018       1/19/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
247 Abraham Varghese                                  INV-3080      1/9/2018       1/19/2018 usd     3,000.00   AML Token Sale depos   1     3000      3000    0    0
248 Doug                                              INV-3081      1/9/2018       1/19/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
249 KIM JONG GYOO                                     INV-3082      1/9/2018       1/19/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
250 Henri Perez                                       INV-3083      1/9/2018       1/19/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
251 David Bi                                          INV-3084     1/10/2018       1/20/2018 usd       800.00   AML Token Sale depos   1      800       800    0    0
252 Adam Biles                                        INV-3085     1/10/2018       1/20/2018 usd       861.00   AML Token Sale depos   1      861       861    0    0
253 Mirza Paglinawan                                  INV-3086     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
254 Daniel Ranalan                                    INV-3087     1/10/2018       1/20/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
255 Chris Waterhouse                                  INV-3088     1/10/2018       1/20/2018 usd     2,000.00   AML Token Sale depos   1     2000      2000    0    0
256 Peter Sparks                                      INV-3089     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
257 Frankie McClendon                                 INV-3090     1/10/2018       1/20/2018 usd     2,500.00   AML Token Sale depos   1     2500      2500    0    0
258 Seah Chin Tiong                                   INV-3091     1/10/2018       1/20/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
259 Shoby Mannachanallur Se                           INV-3092     1/10/2018       1/20/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
260 SANDIPKUMAR BRAHMBH                               INV-3093     1/10/2018       1/20/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
261 Bongkyu Song                                      INV-3094     1/10/2018       1/20/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
262 Gernot Schmid                                     INV-3095     1/10/2018       1/20/2018 usd     1,500.00   AML Token Sale depos   1     1500      1500    0    0
263 John kearney                                      INV-3096     1/10/2018       1/20/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
264 brett tomlinson                                   INV-3097     1/10/2018       1/20/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
265 DANIEL NEALE                                      INV-3098     1/10/2018       1/20/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
266 Andrei sargu                                      INV-3099     1/10/2018       1/20/2018 usd     1,500.00   AML Token Sale depos   1     1500      1500    0    0
267 venki das                                         INV-3100     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
268 marco                                             INV-3101     1/10/2018       1/20/2018 usd     1,560.00   AML Token Sale depos   1     1560      1560    0    0
269 marco                                             INV-3102     1/10/2018       1/20/2018 usd     2,000.00   AML Token Sale depos   1     2000      2000    0    0
270 Seungwook Seo                                     INV-3103     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
271 Douglas Cornish                                   INV-3104     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
272 Krisada Chaiamnat                                 INV-3105     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
273 Michael O'Connor                                  INV-3106     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
274 ë°•í˜„ìš°                                         INV-3107     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
275 Hassan                                            INV-3108     1/10/2018       1/20/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
276 Mark Macaskill                                    INV-3109     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
277 Christian mejia                                   INV-3110     1/10/2018       1/20/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
278 Sheeba                                            INV-3111     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
279 ITTEHAD UL ISLAM                                  INV-3112     1/10/2018       1/20/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0




                                                                                                                                                       EX3134-049
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280 se7en                                           INV-3113     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
281 Gernot Schmid                                   INV-3114     1/10/2018       1/20/2018 usd      700.00   AML Token Sale depos   1    700     700    0    0
282 Jason Appel                                     INV-3115     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
283 Brooks Carter                                   INV-3116     1/10/2018       1/20/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
284 John Rintoul                                    INV-3117     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
285 Chris warbrick                                  INV-3118     1/10/2018       1/20/2018 usd    2,000.00   AML Token Sale depos   1   2000    2000    0    0
286 Melissa Lieberman                               INV-3119     1/10/2018       1/20/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
287 marcus collins                                  INV-3120     1/10/2018       1/20/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
288 Christian Poellabauer                           INV-3121     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
289 kevi                                            INV-3122     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
290 Aiman Gamal Hamam                               INV-3123     1/10/2018       1/20/2018 usd    1,017.00   AML Token Sale depos   1   1017    1017    0    0
291 Marcus Law                                      INV-3124     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
292 David Rees                                      INV-3125     1/10/2018       1/20/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
293 Marcus Law                                      INV-3126     1/10/2018       1/20/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
294 Michael Bartz                                   INV-3127     1/10/2018       1/20/2018 usd      450.00   AML Token Sale depos   1    450     450    0    0
295 Quentin Lavorato                                INV-3128     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
296 Frankie McClendon                               INV-3129     1/10/2018       1/20/2018 usd    3,750.00   AML Token Sale depos   1   3750    3750    0    0
297 alaeddine ben mansour                           INV-3130     1/10/2018       1/20/2018 usd      440.00   AML Token Sale depos   1    440     440    0    0
298 JAGJIT SINGH                                    INV-3131     1/10/2018       1/20/2018 usd    5,000.00   AML Token Sale depos   1   5000    5000    0    0
299 Arvin Nakshan                                   INV-3132     1/10/2018       1/20/2018 usd    1,017.00   AML Token Sale depos   1   1017    1017    0    0
300 Arvin Nakshan                                   INV-3133     1/10/2018       1/20/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
301 Anna Walker                                     INV-3134     1/10/2018       1/20/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
302 Marcia R Jones                                  INV-3135     1/10/2018       1/20/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
303 Michael Bartz                                   INV-3136     1/10/2018       1/20/2018 usd      600.00   AML Token Sale depos   1    600     600    0    0
304 jorge lendeborg                                 INV-3137     1/10/2018       1/20/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
305 Jeffrey Cannings                                INV-3138     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
306 Nicholas Wong                                   INV-3139     1/10/2018       1/20/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
307 DEANDRE BADGETT                                 INV-3140     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
308 Robert Lawson                                   INV-3141     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
309 sona yeznaian                                   INV-3142     1/10/2018       1/20/2018 usd      440.00   AML Token Sale depos   1    440     440    0    0
310 sona yeznaian                                   INV-3143     1/10/2018       1/20/2018 usd      440.00   AML Token Sale depos   1    440     440    0    0
311 Skylar Jansen                                   INV-3144     1/10/2018       1/20/2018 usd      477.50   AML Token Sale depos   1   477.5   477.5   0    0
312 Ronald Jackson                                  INV-3145     1/10/2018       1/20/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
313 vicky balboa                                    INV-3146     1/10/2018       1/20/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
314 John Durrett                                    INV-3147     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
315 james palermo                                   INV-3148     1/10/2018       1/20/2018 usd      650.00   AML Token Sale depos   1    650     650    0    0
316 Geoff Begg                                      INV-3149     1/10/2018       1/20/2018 usd      750.00   AML Token Sale depos   1    750     750    0    0
317 Debiraj Gurung                                  INV-3150     1/10/2018       1/20/2018 usd      900.00   AML Token Sale depos   1    900     900    0    0
318 alaeddine ben mansour                           INV-3151     1/10/2018       1/20/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
319 Amy Ramirez                                     INV-3152     1/10/2018       1/20/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
320 Amy Ramirez                                     INV-3153     1/10/2018       1/20/2018 usd      514.00   AML Token Sale depos   1    514     514    0    0
321 Alan Greenblatt                                 INV-3154     1/10/2018       1/20/2018 usd      320.00   AML Token Sale depos   1    320     320    0    0
322 Raul Torres                                     INV-3155     1/10/2018       1/20/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
323 Alan Greenblatt                                 INV-3156     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
324 Daehong Koh                                     INV-3157     1/10/2018       1/20/2018 usd    5,000.00   AML Token Sale depos   1   5000    5000    0    0
325 Marc                                            INV-3158     1/10/2018       1/20/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
326 Jamil Katou                                     INV-3159     1/10/2018       1/20/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
327 Paul Garvey                                     INV-3160     1/10/2018       1/20/2018 usd    3,770.00   AML Token Sale depos   1   3770    3770    0    0
328 Abel Timothy Wood                               INV-3161     1/10/2018       1/20/2018 usd      350.00   AML Token Sale depos   1    350     350    0    0
329 Therese Blake                                   INV-3162     1/10/2018       1/20/2018 usd      312.50   AML Token Sale depos   1   312.5   312.5   0    0
330 Daenna Frey                                     INV-3163     1/10/2018       1/20/2018 usd    5,000.00   AML Token Sale depos   1   5000    5000    0    0
331 Manjunath Naik                                  INV-3164     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
332 Sebastian Wright                                INV-3165     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
333 Rahulbedi                                       INV-3166     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
334 OH HAN WEE                                      INV-3167     1/10/2018       1/20/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
335 Juris Zinbergs                                  INV-3168     1/10/2018       1/20/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0




                                                                                                                                                EX3134-050
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336 Bongkyu Song                                     INV-3169     1/10/2018       1/20/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
337 Charles Burr                                     INV-3170     1/10/2018       1/20/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
338 Jabr                                             INV-3171     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
339 Rick L Perkins                                   INV-3172     1/10/2018       1/20/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
340 Sam Sobania                                      INV-3173     1/10/2018       1/20/2018 usd    3,125.00   AML Token Sale depos   1    3125     3125    0    0
341 DUANE VANACORE                                   INV-3174     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
342 Peter                                            INV-3175     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
343 Craig Johnson                                    INV-3176     1/11/2018       1/21/2018 usd    1,500.00   AML Token Sale depos   1    1500     1500    0    0
344 Yeo Boon Kiat                                    INV-3177     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
345 Jersson                                          INV-3178     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
346 Luis Angelo Batac                                INV-3179     1/11/2018       1/21/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
347 Luis Angelo Batac                                INV-3180     1/11/2018       1/21/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
348 rahulvirwal                                      INV-3181     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
349 Johann Doblander                                 INV-3182     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
350 David Krzywonos                                  INV-3183     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
351 Andrew Logan                                     INV-3184     1/11/2018       1/21/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
352 skang                                            INV-3185     1/11/2018       1/21/2018 usd      875.00   AML Token Sale depos   1     875      875    0    0
353 Patrick Mafi                                     INV-3186     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
354 Anura Keerthisinghe                              INV-3187     1/11/2018       1/21/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
355 mounir                                           INV-3188     1/11/2018       1/21/2018 usd    1,050.00   AML Token Sale depos   1    1050     1050    0    0
356 Alan Doughouz                                    INV-3189     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
357 Ventura Esquivel                                 INV-3190     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
358 Paul Shilling                                    INV-3191     1/11/2018       1/21/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
359 Jack Okorn                                       INV-3192     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
360 Anil Kumar R.                                    INV-3193     1/11/2018       1/21/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
361 bramhanand pothur                                INV-3194     1/11/2018       1/21/2018 usd      310.00   AML Token Sale depos   1     310      310    0    0
362 Andrei Liakhavets                                INV-3195     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
363 Stephen Connolly                                 INV-3196     1/11/2018       1/21/2018 usd      405.00   AML Token Sale depos   1     405      405    0    0
364 Mohd Razali Mohd Saleh                           INV-3197     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
365 Alok D Kashyap                                   INV-3198     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
366 kenneth horrocks                                 INV-3199     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
367 Shakhawat Khandaker                              INV-3200     1/11/2018       1/21/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
368 Christopher Paluck                               INV-3201     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
369 Amy Ramirez                                      INV-3202     1/11/2018       1/21/2018 usd      314.00   AML Token Sale depos   1     314      314    0    0
370 Matthijs Koorn                                   INV-3203     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
371 Derrick Anthony                                  INV-3204     1/11/2018       1/21/2018 usd      600.00   AML Token Sale depos   1     600      600    0    0
372 Gary Marquez                                     INV-3205     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
373 Adrouche                                         INV-3206     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
374 geoff feinstein                                  INV-3207     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
375 Baron August                                     INV-3208     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
376 Stephen Jed                                      INV-3209     1/11/2018       1/21/2018 usd   43,750.00   AML Token Sale depos   1   43750    43750    0    0
377 shahina                                          INV-3210     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
378 Julio Awesome                                    INV-3211     1/11/2018       1/21/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
379 Ruchir                                           INV-3212     1/11/2018       1/21/2018 usd    5,500.00   AML Token Sale depos   1    5500     5500    0    0
380 Jack                                             INV-3213     1/11/2018       1/21/2018 usd      320.00   AML Token Sale depos   1     320      320    0    0
381 Vicente santana                                  INV-3214     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
382 Mehmet Can                                       INV-3215     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
383 Tim Oâ€™                                         INV-3216     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
384 Mike Stanton                                     INV-3217     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
385 James Great-House                                INV-3218     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
386 Mr Evilscrys                                     INV-3219     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
387 Ron den Braber                                   INV-3220     1/11/2018       1/21/2018 usd      390.00   AML Token Sale depos   1     390      390    0    0
388 John Baia                                        INV-3221     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
389 Kelly Warren                                     INV-3222     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
390 John Varghese                                    INV-3223     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
391 nashana D. Gillis                                INV-3224     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0




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392 Stephen lincoln                                INV-3225     1/11/2018       1/21/2018 usd      375.00   AML Token Sale depos   1    375     375    0    0
393 Alex                                           INV-3226     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
394 Beverly Jean Eastman                           INV-3227     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
395 Mauricio Belando                               INV-3228     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
396 Robert Ray                                     INV-3229     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
397 John lopez                                     INV-3230     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
398 Shane Logan                                    INV-3231     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
399 Michael Mercer                                 INV-3232     1/11/2018       1/21/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
400 Everett Roberts                                INV-3233     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
401 Ronald I Roberts                               INV-3234     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
402 Yh liew                                        INV-3235     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
403 Antony Matherson                               INV-3236     1/11/2018       1/21/2018 usd    4,000.00   AML Token Sale depos   1   4000    4000    0    0
404 niki moyer                                     INV-3237     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
405 Jungpil Eom                                    INV-3238     1/11/2018       1/21/2018 usd    5,000.00   AML Token Sale depos   1   5000    5000    0    0
406 Gbenga Oke                                     INV-3239     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
407 Sky Benson                                     INV-3240     1/11/2018       1/21/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
408 jaime rios                                     INV-3241     1/11/2018       1/21/2018 usd    2,000.00   AML Token Sale depos   1   2000    2000    0    0
409 kan                                            INV-3242     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
410 Gabriel Obenson                                INV-3243     1/11/2018       1/21/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
411 Daniel Gidez                                   INV-3244     1/11/2018       1/21/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
412 sarat                                          INV-3245     1/11/2018       1/21/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
413 Syd Trenowden                                  INV-3246     1/11/2018       1/21/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
414 choiminho                                      INV-3247     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
415 anthony bryan                                  INV-3248     1/12/2018       1/22/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
416 Hye Lin Kang                                   INV-3249     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
417 Hye Lin Kang                                   INV-3250     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
418 William Dukes                                  INV-3251     1/12/2018       1/22/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
419 Ronald Valme                                   INV-3252     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
420 Ashutosh Pathak                                INV-3253     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
421 shibi keshri                                   INV-3254     1/12/2018       1/22/2018 usd      312.50   AML Token Sale depos   1   312.5   312.5   0    0
422 Julio chavez                                   INV-3255     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
423 Sachin paudel                                  INV-3256     1/12/2018       1/22/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
424 Sachin paudel                                  INV-3257     1/12/2018       1/22/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
425 Sachin paudel                                  INV-3258     1/12/2018       1/22/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
426 Sachin paudel                                  INV-3259     1/12/2018       1/22/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
427 Sachin paudel                                  INV-3260     1/12/2018       1/22/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
428 Jay Rose                                       INV-3261     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
429 Michael Critchley                              INV-3262     1/12/2018       1/22/2018 usd      800.00   AML Token Sale depos   1    800     800    0    0
430 Georgina Barr                                  INV-3263     1/12/2018       1/22/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
431 Graeme Soutar                                  INV-3264     1/12/2018       1/22/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
432 Graeme Soutar                                  INV-3265     1/12/2018       1/22/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
433 Georgina Barr                                  INV-3266     1/12/2018       1/22/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
434 Gabriel Obenson                                INV-3267     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
435 Graeme Soutar                                  INV-3268     1/12/2018       1/22/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
436 Gabriel Obenson                                INV-3269     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
437 Dexter                                         INV-3270     1/12/2018       1/22/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
438 Johnny wigle                                   INV-3271     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
439 Gabriel Obenson                                INV-3272     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
440 Dexter                                         INV-3273     1/12/2018       1/22/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
441 Barry Wheeler                                  INV-3274     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
442 Rey Soriano                                    INV-3275     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
443 Graeme Soutar                                  INV-3276     1/12/2018       1/22/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
444 Graeme Soutar                                  INV-3277     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
445 Stuart Knight                                  INV-3278     1/12/2018       1/22/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
446 Jorge Barney                                   INV-3279     1/12/2018       1/22/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
447 Saket Negandhi                                 INV-3280     1/12/2018       1/22/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0




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448 Arnel G. Pelayo                               INV-3281     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
449 Richard Randle                                INV-3282     1/12/2018       1/22/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
450 Alexander Felix                               INV-3283     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
451 Philip                                        INV-3284     1/12/2018       1/22/2018 usd    12,500.00   AML Token Sale depos   1    12500     12500    0    0
452 jaime rios                                    INV-3285     1/12/2018       1/22/2018 usd     2,500.00   AML Token Sale depos   1     2500      2500    0    0
453 Eric Tupker                                   INV-3286     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
454 Mark Rugare                                   INV-3287     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
455 Alexandra Lebedeff                            INV-3288     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
456 TINHRTT01                                     INV-3289     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
457 Svetlana Raber                                INV-3290     1/12/2018       1/22/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
458 STEVE CORONADO SR                             INV-3291     1/12/2018       1/22/2018 usd     2,500.00   AML Token Sale depos   1     2500      2500    0    0
459 Amit Aery                                     INV-3292     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
460 Michael Critchley                             INV-3293     1/12/2018       1/22/2018 usd       700.00   AML Token Sale depos   1      700       700    0    0
461 SYED HASAN MUZAFFAR                           INV-3294     1/12/2018       1/22/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
462 Slawson                                       INV-3295     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
463 Ziyad Shah                                    INV-3296     1/12/2018       1/22/2018 usd       350.00   AML Token Sale depos   1      350       350    0    0
464 Drew Sullivan                                 INV-3297     1/12/2018       1/22/2018 usd     1,250.00   AML Token Sale depos   1     1250      1250    0    0
465 Block Bits Capital                            INV-3298     1/12/2018       1/22/2018 usd   850,000.00   AML Token Sale depos   1   850000    850000    0    0
466 David Story                                   INV-3299     1/12/2018       1/22/2018 usd       312.50   AML Token Sale depos   1     312.5     312.5   0    0
467 Zaki N Kiriakos                               INV-3300     1/12/2018       1/22/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
468 Samuel Phillips                               INV-3301     1/12/2018       1/22/2018 usd       650.00   AML Token Sale depos   1      650       650    0    0
469 seunghoon lee                                 INV-3302     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
470 Carlos Ortiz                                  INV-3303     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
471 Isabel Munoz                                  INV-3304     1/12/2018       1/22/2018 usd    35,000.00   AML Token Sale depos   1    35000     35000    0    0
472 FINN ROGNSTAD                                 INV-3305     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
473 JEROME OHONBAMU                               INV-3306     1/12/2018       1/22/2018 usd       405.00   AML Token Sale depos   1      405       405    0    0
474 JEROME OHONBAMU                               INV-3307     1/12/2018       1/22/2018 usd       422.00   AML Token Sale depos   1      422       422    0    0
475 Sofia                                         INV-3308     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
476 Ugyen Thinley                                 INV-3309     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
477 Jeffrey Lafferman                             INV-3310     1/12/2018       1/22/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
478 joan peterson                                 INV-3311     1/12/2018       1/22/2018 usd       400.00   AML Token Sale depos   1      400       400    0    0
479 Ugyen Thinley                                 INV-3312     1/12/2018       1/22/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
480 Barbara McIntyre                              INV-3313     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
481 Carlos Aguilar                                INV-3314     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
482 Safwen chebbi                                 INV-3315     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
483 James dunkleberger                            INV-3316     1/12/2018       1/22/2018 usd     1,250.00   AML Token Sale depos   1     1250      1250    0    0
484 Brian Chan                                    INV-3317     1/12/2018       1/22/2018 usd       312.50   AML Token Sale depos   1     312.5     312.5   0    0
485 Gregory Miskie                                INV-3318     1/12/2018       1/22/2018 usd     1,000.00   AML Token Sale depos   1     1000      1000    0    0
486 taedeok Seo                                   INV-3319     1/12/2018       1/22/2018 usd     1,870.00   AML Token Sale depos   1     1870      1870    0    0
487 Andres Zuniga                                 INV-3320     1/12/2018       1/22/2018 usd       312.00   AML Token Sale depos   1      312       312    0    0
488 Milton                                        INV-3321     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
489 Kevork Krajian                                INV-3322     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
490 Chua Puay Chuan                               INV-3323     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
491 KANG DONG HYOUN                               INV-3324     1/12/2018       1/22/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
492 eric hong                                     INV-3325     1/12/2018       1/22/2018 usd     1,250.00   AML Token Sale depos   1     1250      1250    0    0
493 Abdullah Aldulaigan                           INV-3326     1/12/2018       1/22/2018 usd    26,400.00   AML Token Sale depos   1    26400     26400    0    0
494 Dave Bedsun                                   INV-3327     1/12/2018       1/22/2018 usd       625.00   AML Token Sale depos   1      625       625    0    0
495 Shawn Evenson                                 INV-3328     1/12/2018       1/22/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
496 Dhaval Manvar                                 INV-3329     1/12/2018       1/22/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
497 Lim Kok yeow                                  INV-3330     1/13/2018       1/23/2018 usd       675.00   AML Token Sale depos   1      675       675    0    0
498 Aris Suhardi                                  INV-3331     1/13/2018       1/23/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
499 Mai Nguyen                                    INV-3332     1/13/2018       1/23/2018 usd     1,562.50   AML Token Sale depos   1    1562.5    1562.5   0    0
500 Igor                                          INV-3333     1/13/2018       1/23/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
501 bondpiyu                                      INV-3334     1/13/2018       1/23/2018 usd       500.00   AML Token Sale depos   1      500       500    0    0
502 SANDIPKUMAR BRAHMBH                           INV-3335     1/13/2018       1/23/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0
503 Peter Litson                                  INV-3336     1/13/2018       1/23/2018 usd       300.00   AML Token Sale depos   1      300       300    0    0




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504 KANG DONG HYOUN                                 INV-3337     1/13/2018       1/23/2018 usd      750.00   AML Token Sale depos   1     750      750    0    0
505 Arsen Ayranjian                                 INV-3338     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
506 Sridhar Chari                                   INV-3339     1/13/2018       1/23/2018 usd    3,150.00   AML Token Sale depos   1    3150     3150    0    0
507 Sridhar Chari                                   INV-3340     1/13/2018       1/23/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
508 Mike Stanton                                    INV-3341     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
509 Josephine Clark                                 INV-3342     1/13/2018       1/23/2018 usd      887.50   AML Token Sale depos   1    887.5    887.5   0    0
510 Mirza Paglinawan                                INV-3343     1/13/2018       1/23/2018 usd      380.00   AML Token Sale depos   1     380      380    0    0
511 German Avengoza                                 INV-3344     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
512 Adrian j king                                   INV-3345     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
513 Geoffroy                                        INV-3346     1/13/2018       1/23/2018 usd   12,500.00   AML Token Sale depos   1   12500    12500    0    0
514 Vijay                                           INV-3347     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
515 Dave Robinson                                   INV-3348     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
516 Ronald Fung Chung                               INV-3349     1/13/2018       1/23/2018 usd      320.00   AML Token Sale depos   1     320      320    0    0
517 Ronald Fung Chung                               INV-3350     1/13/2018       1/23/2018 usd      340.00   AML Token Sale depos   1     340      340    0    0
518 Ronald Fung Chung                               INV-3351     1/13/2018       1/23/2018 usd      340.00   AML Token Sale depos   1     340      340    0    0
519 Inge Intven                                     INV-3352     1/13/2018       1/23/2018 usd      650.00   AML Token Sale depos   1     650      650    0    0
520 Dmitriy panteleev                               INV-3353     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
521 Malcolm                                         INV-3354     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
522 Robert Gorczycagroff                            INV-3355     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
523 MEHUL MEHTA                                     INV-3356     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
524 Sachin paudel                                   INV-3357     1/13/2018       1/23/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
525 Ronald Fung Chung                               INV-3358     1/13/2018       1/23/2018 usd      315.00   AML Token Sale depos   1     315      315    0    0
526 Shane Alfonso                                   INV-3359     1/13/2018       1/23/2018 usd   15,000.00   AML Token Sale depos   1   15000    15000    0    0
527 Emilio Vargas                                   INV-3360     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
528 Kaltun Farah                                    INV-3361     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
529 Shane Lott                                      INV-3362     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
530 Wim van Rijswijk                                INV-3363     1/13/2018       1/23/2018 usd      400.00   AML Token Sale depos   1     400      400    0    0
531 Lim Bee Bee                                     INV-3364     1/13/2018       1/23/2018 usd      735.00   AML Token Sale depos   1     735      735    0    0
532 Isam                                            INV-3365     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
533 YIHYEJI                                         INV-3366     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
534 Carlos Colato                                   INV-3367     1/13/2018       1/23/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
535 EliZabeth Osgood                                INV-3368     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
536 DAPHNE SINGLETON                                INV-3369     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
537 ROBERTO CEBALLOS ARAU                           INV-3370     1/13/2018       1/23/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
538 Nick solomon                                    INV-3371     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
539 Yixiang                                         INV-3372     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
540 Isabel Munoz                                    INV-3373     1/13/2018       1/23/2018 usd   35,000.00   AML Token Sale depos   1   35000    35000    0    0
541 Georgina Barr                                   INV-3374     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
542 Julie Singer                                    INV-3375     1/13/2018       1/23/2018 usd      310.00   AML Token Sale depos   1     310      310    0    0
543 Bechir                                          INV-3376     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
544 Rajesh Gopal                                    INV-3377     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
545 Juan Ramos                                      INV-3378     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
546 Alexander Prasievi                              INV-3379     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
547 Deepak Thapa                                    INV-3380     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
548 Alexander Prasievi                              INV-3381     1/13/2018       1/23/2018 usd    1,014.00   AML Token Sale depos   1    1014     1014    0    0
549 Paul kraljevich                                 INV-3382     1/13/2018       1/23/2018 usd      600.00   AML Token Sale depos   1     600      600    0    0
550 Merkosh                                         INV-3383     1/13/2018       1/23/2018 usd      315.00   AML Token Sale depos   1     315      315    0    0
551 Olga Fokina                                     INV-3384     1/13/2018       1/23/2018 usd      700.00   AML Token Sale depos   1     700      700    0    0
552 Madhu Ginney                                    INV-3385     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
553 Lance Berberich                                 INV-3386     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
554 Kantilal Sangale                                INV-3387     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
555 William Martin                                  INV-3388     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
556 Yeongseo YOUN                                   INV-3389     1/13/2018       1/23/2018 usd    5,000.00   AML Token Sale depos   1    5000     5000    0    0
557 Bryan Townson                                   INV-3390     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
558 Garin Underwood                                 INV-3391     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
559 Abdulselam Abdella                              INV-3392     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0




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560 Earl J Spence Jr.                                  INV-3393     1/13/2018       1/23/2018 usd      437.50   AML Token Sale depos   1    437.5    437.5   0    0
561 Andrew M                                           INV-3394     1/13/2018       1/23/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
562 Jeanette Spoleti                                   INV-3395     1/13/2018       1/23/2018 usd    3,000.00   AML Token Sale depos   1    3000     3000    0    0
563 Casey Johnson                                      INV-3396     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
564 Rod                                                INV-3397     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
565 Gary Morgan                                        INV-3398     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
566 Rod                                                INV-3399     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
567 Bryan Townson                                      INV-3400     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
568 Michel De Puydt                                    INV-3401     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
569 Derik Gomes                                        INV-3402     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
570 Roman                                              INV-3403     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
571 Norman Lance                                       INV-3404     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
572 David A Snyder                                     INV-3405     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
573 Noe morales                                        INV-3406     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
574 Fausto Castillo                                    INV-3407     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
575 Michael Lemoignan                                  INV-3408     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
576 Johann Monterrosa                                  INV-3409     1/13/2018       1/23/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
577 Johann Monterrosa                                  INV-3410     1/13/2018       1/23/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
578 Johann Monterrosa                                  INV-3411     1/13/2018       1/23/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
579 Josh Tutwiler                                      INV-3412     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
580 Alex                                               INV-3413     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
581 Ms Anisa Awan                                      INV-3414     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
582 rocky.wang                                         INV-3415     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
583 Crestvista Limited                                 INV-3416     1/13/2018       1/23/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
584 Joey                                               INV-3417     1/13/2018       1/23/2018 usd   12,500.00   AML Token Sale depos   1   12500    12500    0    0
585 Joey                                               INV-3418     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
586 junaid ahmed                                       INV-3419     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
587 12 crespigny road                                  INV-3420     1/13/2018       1/23/2018 usd   15,000.00   AML Token Sale depos   1   15000    15000    0    0
588 Jeremy Weed                                        INV-3421     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
589 Suresh                                             INV-3422     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
590 insook song                                        INV-3423     1/13/2018       1/23/2018 usd      930.00   AML Token Sale depos   1     930      930    0    0
591 Robert Smith                                       INV-3424     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
592 Tatyana Kab                                        INV-3425     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
593 Roy Vang                                           INV-3426     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
594 Lawrence Aaron Block                               INV-3427     1/13/2018       1/23/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
595 taedeok Seo                                        INV-3428     1/13/2018       1/23/2018 usd      930.00   AML Token Sale depos   1     930      930    0    0
596 Kamolchai sukantawanich                            INV-3429     1/13/2018       1/23/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
597 OSCAR NOEL JR LLOSE                                INV-3430     1/13/2018       1/23/2018 usd    6,250.00   AML Token Sale depos   1    6250     6250    0    0
598 Avinash Kumar Dubey                                INV-3431     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
599 Arjoon Latchman                                    INV-3432     1/13/2018       1/23/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
600 Emmanuel Marcos                                    INV-3433     1/13/2018       1/23/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
601 emmanuel marcos                                    INV-3434     1/13/2018       1/23/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
602 Maggie Lee                                         INV-3435     1/13/2018       1/23/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
603 taedeok Seo                                        INV-3436     1/13/2018       1/23/2018 usd      460.00   AML Token Sale depos   1     460      460    0    0
604 Eric Hernandez                                     INV-3437     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
605 VÃ-ctor M Ramirez                                  INV-3438     1/13/2018       1/23/2018 usd    1,400.00   AML Token Sale depos   1    1400     1400    0    0
606 HWA LAUM HO                                        INV-3439     1/13/2018       1/23/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
607 moon byoung joon                                   INV-3440     1/13/2018       1/23/2018 usd    3,333.00   AML Token Sale depos   1    3333     3333    0    0
608 girishgohil                                        INV-3441     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
609 VÃ-ctor M Ramirez                                  INV-3442     1/13/2018       1/23/2018 usd    1,875.00   AML Token Sale depos   1    1875     1875    0    0
610 Venkata Satyanarayana Ba                           INV-3443     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
611 VÃ-ctor M Ramirez                                  INV-3444     1/13/2018       1/23/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
612 Pablo Barrera                                      INV-3445     1/13/2018       1/23/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
613 woollmm                                            INV-3446     1/13/2018       1/23/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
614 Amitesh Mishra                                     INV-3447     1/13/2018       1/23/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
615 DEVA Yenubari                                      INV-3448     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0




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616 Lim kheng ann                                    INV-3449     1/14/2018       1/24/2018 usd    1,125.00   AML Token Sale depos   1    1125     1125    0    0
617 Wankanok                                         INV-3450     1/14/2018       1/24/2018 usd    2,000.00   AML Token Sale depos   1    2000     2000    0    0
618 Matthew May                                      INV-3451     1/14/2018       1/24/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
619 Pelligrino Bruno                                 INV-3452     1/14/2018       1/24/2018 usd      400.00   AML Token Sale depos   1     400      400    0    0
620 mohammed khalid                                  INV-3453     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
621 Rashmikant Ghevariya                             INV-3454     1/14/2018       1/24/2018 usd    6,250.00   AML Token Sale depos   1    6250     6250    0    0
622 hyung il mun                                     INV-3455     1/14/2018       1/24/2018 usd    4,000.00   AML Token Sale depos   1    4000     4000    0    0
623 Jaekyung Koh                                     INV-3456     1/14/2018       1/24/2018 usd    3,750.00   AML Token Sale depos   1    3750     3750    0    0
624 Omar Y K Alshaikhali                             INV-3457     1/14/2018       1/24/2018 usd    2,720.00   AML Token Sale depos   1    2720     2720    0    0
625 Janine Pollard                                   INV-3458     1/14/2018       1/24/2018 usd      612.50   AML Token Sale depos   1    612.5    612.5   0    0
626 bitbitworld                                      INV-3459     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
627 Eric Jonathan Jones                              INV-3460     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
628 bitbitworld                                      INV-3461     1/14/2018       1/24/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
629 Brett                                            INV-3462     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
630 Iain Evans                                       INV-3463     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
631 Narendar Nelapatla                               INV-3464     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
632 Ankit                                            INV-3465     1/14/2018       1/24/2018 usd      302.50   AML Token Sale depos   1    302.5    302.5   0    0
633 Bimal Prasad gyawali                             INV-3466     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
634 Richard Woodward                                 INV-3467     1/14/2018       1/24/2018 usd      550.00   AML Token Sale depos   1     550      550    0    0
635 Gert Haas                                        INV-3468     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
636 ELIE NAAMAN                                      INV-3469     1/14/2018       1/24/2018 usd    2,517.00   AML Token Sale depos   1    2517     2517    0    0
637 Musab Elhimri                                    INV-3470     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
638 Bansal                                           INV-3471     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
639 Heather Winpenny                                 INV-3472     1/14/2018       1/24/2018 usd      550.00   AML Token Sale depos   1     550      550    0    0
640 Elissa                                           INV-3473     1/14/2018       1/24/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
641 mARLON SEECHRAN                                  INV-3474     1/14/2018       1/24/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
642 Bassam Tabcharany                                INV-3475     1/14/2018       1/24/2018 usd    1,267.00   AML Token Sale depos   1    1267     1267    0    0
643 B C Teo                                          INV-3476     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
644 Samuel Grice                                     INV-3477     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
645 Tina N Nguyen                                    INV-3478     1/14/2018       1/24/2018 usd      900.00   AML Token Sale depos   1     900      900    0    0
646 Saqlain Abbas                                    INV-3479     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
647 Mohamed Zakout                                   INV-3480     1/14/2018       1/24/2018 usd    6,250.00   AML Token Sale depos   1    6250     6250    0    0
648 Mohamed Zakout                                   INV-3481     1/14/2018       1/24/2018 usd    6,250.00   AML Token Sale depos   1    6250     6250    0    0
649 Mohamed Zakout                                   INV-3482     1/14/2018       1/24/2018 usd    5,000.00   AML Token Sale depos   1    5000     5000    0    0
650 Mohamed Zakout                                   INV-3483     1/14/2018       1/24/2018 usd    4,000.00   AML Token Sale depos   1    4000     4000    0    0
651 Mohamed Zakout                                   INV-3484     1/14/2018       1/24/2018 usd    4,375.00   AML Token Sale depos   1    4375     4375    0    0
652 James Ong                                        INV-3485     1/14/2018       1/24/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
653 Aaron Geistfeld                                  INV-3486     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
654 edward gardner                                   INV-3487     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
655 edward gardner                                   INV-3488     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
656 sudhakar palla                                   INV-3489     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
657 Vincent George                                   INV-3490     1/14/2018       1/24/2018 usd    4,750.00   AML Token Sale depos   1    4750     4750    0    0
658 Rufus Morris                                     INV-3491     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
659 Meshari Salah Alkulaib                           INV-3492     1/14/2018       1/24/2018 usd   30,000.00   AML Token Sale depos   1   30000    30000    0    0
660 Haider Alhusseini                                INV-3493     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
661 YOUN MIN KEE                                     INV-3494     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
662 Shayne                                           INV-3495     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
663 Andy Ramroop                                     INV-3496     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
664 Luiz                                             INV-3497     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
665 Melissa Foteh                                    INV-3498     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
666 Nathan briggs                                    INV-3499     1/14/2018       1/24/2018 usd    1,525.00   AML Token Sale depos   1    1525     1525    0    0
667 Aziz Denian                                      INV-3500     1/14/2018       1/24/2018 usd      700.00   AML Token Sale depos   1     700      700    0    0
668 Muhammad Rashid                                  INV-3501     1/14/2018       1/24/2018 usd    1,500.00   AML Token Sale depos   1    1500     1500    0    0
669 Suzie Traylor                                    INV-3502     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
670 Mark humphreys                                   INV-3503     1/14/2018       1/24/2018 usd    2,800.00   AML Token Sale depos   1    2800     2800    0    0
671 Nived Joseph                                     INV-3504     1/14/2018       1/24/2018 usd    3,250.00   AML Token Sale depos   1    3250     3250    0    0




                                                                                                                                                   EX3134-056
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672 Nived Joseph                                     INV-3505     1/14/2018       1/24/2018 usd    3,250.00   AML Token Sale depos   1   3250    3250    0    0
673 Aziz Denian                                      INV-3506     1/14/2018       1/24/2018 usd    2,500.00   AML Token Sale depos   1   2500    2500    0    0
674 Suzie Traylor                                    INV-3507     1/14/2018       1/24/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
675 Vinod K Singh                                    INV-3508     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
676 Aziz Denian                                      INV-3509     1/14/2018       1/24/2018 usd    6,250.00   AML Token Sale depos   1   6250    6250    0    0
677 Amitesh Mishra                                   INV-3510     1/14/2018       1/24/2018 usd      375.00   AML Token Sale depos   1    375     375    0    0
678 Ashandeep Singh Khanna                           INV-3511     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
679 Marcus D Law                                     INV-3512     1/14/2018       1/24/2018 usd    2,500.00   AML Token Sale depos   1   2500    2500    0    0
680 Richard Woodward                                 INV-3513     1/14/2018       1/24/2018 usd      550.00   AML Token Sale depos   1    550     550    0    0
681 JITESH RANGWANI                                  INV-3514     1/14/2018       1/24/2018 usd      307.00   AML Token Sale depos   1    307     307    0    0
682 Graham Morris                                    INV-3515     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
683 Elena Cilingarjana                               INV-3516     1/14/2018       1/24/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
684 Marius Lazea                                     INV-3517     1/14/2018       1/24/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
685 Mouhsine                                         INV-3518     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
686 Suzie Traylor                                    INV-3519     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
687 James dunkleberger                               INV-3520     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
688 Maroof faiz                                      INV-3521     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
689 JULITA FRALEY                                    INV-3522     1/14/2018       1/24/2018 usd      625.00   AML Token Sale depos   1    625     625    0    0
690 Mitja Novak                                      INV-3523     1/14/2018       1/24/2018 usd      480.00   AML Token Sale depos   1    480     480    0    0
691 Bryan                                            INV-3524     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
692 Abdullah Al Haroon                               INV-3525     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
693 Bryan                                            INV-3526     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
694 Ruth Giammanco                                   INV-3527     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
695 Jodelyn Sejour                                   INV-3528     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
696 Rohan Thimma Reddy                               INV-3529     1/14/2018       1/24/2018 usd      800.00   AML Token Sale depos   1    800     800    0    0
697 Ky Quy Lee                                       INV-3530     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
698 Douglas Glenn Eckstein                           INV-3531     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
699 Subramani Rao                                    INV-3532     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
700 Wilmar                                           INV-3533     1/14/2018       1/24/2018 usd      750.00   AML Token Sale depos   1    750     750    0    0
701 Ryan Jensen                                      INV-3534     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
702 Patricia Kelley                                  INV-3535     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
703 Linda Lindsey                                    INV-3536     1/14/2018       1/24/2018 usd    2,500.00   AML Token Sale depos   1   2500    2500    0    0
704 Cathy Cobey                                      INV-3537     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
705 Roger Fallows                                    INV-3538     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
706 Ugyen Thinley                                    INV-3539     1/14/2018       1/24/2018 usd    1,300.00   AML Token Sale depos   1   1300    1300    0    0
707 JOSEPH P WILLS                                   INV-3540     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
708 aaron whitlock                                   INV-3541     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
709 Riccardo Arruzza                                 INV-3542     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
710 Richard Ward                                     INV-3543     1/14/2018       1/24/2018 usd    1,014.00   AML Token Sale depos   1   1014    1014    0    0
711 Harvy                                            INV-3544     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
712 Josephine Clark                                  INV-3545     1/14/2018       1/24/2018 usd      937.50   AML Token Sale depos   1   937.5   937.5   0    0
713 Dean                                             INV-3546     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
714 Calvin Mackey                                    INV-3547     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
715 Issa                                             INV-3548     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
716 BRETT HARRIS                                     INV-3549     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
717 Nenad Vrbancic                                   INV-3550     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
718 Jack Okorn                                       INV-3551     1/14/2018       1/24/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
719 Salmon Ben Pinto                                 INV-3552     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
720 Hashem Sakeen                                    INV-3553     1/14/2018       1/24/2018 usd      337.50   AML Token Sale depos   1   337.5   337.5   0    0
721 Premkumar Gaddam                                 INV-3554     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
722 maher r youssef                                  INV-3555     1/14/2018       1/24/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
723 Khalid Mahmood                                   INV-3556     1/14/2018       1/24/2018 usd    2,000.00   AML Token Sale depos   1   2000    2000    0    0
724 Shannon lott                                     INV-3557     1/14/2018       1/24/2018 usd    1,250.00   AML Token Sale depos   1   1250    1250    0    0
725 Paul Velich                                      INV-3558     1/14/2018       1/24/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
726 Ben D Lindsey-Wolcott                            INV-3559     1/14/2018       1/24/2018 usd    2,250.00   AML Token Sale depos   1   2250    2250    0    0
727 Adib Ferdosian                                   INV-3560     1/15/2018       1/25/2018 usd    2,500.00   AML Token Sale depos   1   2500    2500    0    0




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728 Felipe Pacheco                                   INV-3561     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
729 Nathan briggs                                    INV-3562     1/15/2018       1/25/2018 usd    2,000.00   AML Token Sale depos   1    2000     2000    0    0
730 Bridget Estes                                    INV-3563     1/15/2018       1/25/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
731 Neeraj Kumar Pandey                              INV-3564     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
732 Khairil Syazwan Khalil                           INV-3565     1/15/2018       1/25/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
733 Simon                                            INV-3566     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
734 Nived Joseph                                     INV-3567     1/15/2018       1/25/2018 usd      325.50   AML Token Sale depos   1    325.5    325.5   0    0
735 Nived Joseph                                     INV-3568     1/15/2018       1/25/2018 usd      325.00   AML Token Sale depos   1     325      325    0    0
736 Chin Keong Chan                                  INV-3569     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
737 Sandeep                                          INV-3570     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
738 Gordon Wells                                     INV-3571     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
739 Aziz Denian                                      INV-3572     1/15/2018       1/25/2018 usd   12,500.00   AML Token Sale depos   1   12500    12500    0    0
740 Abdullah Aldulaigan                              INV-3573     1/15/2018       1/25/2018 usd   25,700.00   AML Token Sale depos   1   25700    25700    0    0
741 Jin Kwon                                         INV-3574     1/15/2018       1/25/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
742 Daniel large                                     INV-3575     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
743 Gavin Oberholzer                                 INV-3576     1/15/2018       1/25/2018 usd    2,000.00   AML Token Sale depos   1    2000     2000    0    0
744 JITESH RANGWANI                                  INV-3577     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
745 Mothfir                                          INV-3578     1/15/2018       1/25/2018 usd    6,743.00   AML Token Sale depos   1    6743     6743    0    0
746 John Dodds                                       INV-3579     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
747 BRETT HARRIS                                     INV-3580     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
748 Lim Bee Bee                                      INV-3581     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
749 Shiela                                           INV-3582     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
750 Ruchitkumar                                      INV-3583     1/15/2018       1/25/2018 usd      800.00   AML Token Sale depos   1     800      800    0    0
751 Michael Flann                                    INV-3584     1/15/2018       1/25/2018 usd      650.00   AML Token Sale depos   1     650      650    0    0
752 Hyun Kyu Lee                                     INV-3585     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
753 ìž¥ì¤€í˜                                         INV-3586     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
754 koliobb                                          INV-3587     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
755 Muhammad Tayyab                                  INV-3588     1/15/2018       1/25/2018 usd      312.00   AML Token Sale depos   1     312      312    0    0
756 Rima                                             INV-3589     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
757 ì „ì‹œìš°                                        INV-3590     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
758 B M Shivakumar                                   INV-3591     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
759 Mohammad Saleh                                   INV-3592     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
760 Zaheer Abbas                                     INV-3593     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
761 Steven lawrence                                  INV-3594     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
762 Ivo                                              INV-3595     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
763 Jayakumar                                        INV-3596     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
764 Eui Rock Oh                                      INV-3597     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
765 Petar Velkovski                                  INV-3598     1/15/2018       1/25/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
766 Nageswara Rao                                    INV-3599     1/15/2018       1/25/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
767 Manish Gupta                                     INV-3600     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
768 Vijayadarshan Algari                             INV-3601     1/15/2018       1/25/2018 usd      625.00   AML Token Sale depos   1     625      625    0    0
769 Saed Rasouli                                     INV-3602     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
770 Jeffrey MacLeod                                  INV-3603     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
771 NameFlameMD                                      INV-3604     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
772 Ramakishore                                      INV-3605     1/15/2018       1/25/2018 usd      312.00   AML Token Sale depos   1     312      312    0    0
773 Haren Nagodavithana                              INV-3606     1/15/2018       1/25/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
774 Anthony Howell                                   INV-3607     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
775 Wesley Wilson                                    INV-3608     1/15/2018       1/25/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
776 Mallikarjuna Reddy                               INV-3609     1/15/2018       1/25/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
777 Mallikarjuna Reddy                               INV-3610     1/15/2018       1/25/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
778 Rajesh Gopal                                     INV-3611     1/15/2018       1/25/2018 usd      562.50   AML Token Sale depos   1    562.5    562.5   0    0
779 Minh Ta                                          INV-3612     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
780 Arun Mulka                                       INV-3613     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
781 Emma                                             INV-3614     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
782 Orest Fokine                                     INV-3615     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
783 Joonki                                           INV-3616     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0




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784 TARIK KERBOUCI                                   INV-3617     1/15/2018       1/25/2018 usd   15,017.00   AML Token Sale depos   1   15017    15017    0     0
785 michael clee                                     INV-3618     1/15/2018       1/25/2018 usd    2,000.00   AML Token Sale depos   1    2000     2000    0     0
786 AWINASH WALAWALKAR                               INV-3619     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
787 Raghid                                           INV-3620     1/15/2018       1/25/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
788 dexter chua                                      INV-3621     1/15/2018       1/25/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0     0
789 Enoch Tagoe                                      INV-3622     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
790 Firdaus                                          INV-3623     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
791 jose a Escalante                                 INV-3624     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
792 mohannad hanoun                                  INV-3625     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
793 Gary Morgan                                      INV-3626     1/15/2018       1/25/2018 usd      673.75   AML Token Sale depos   1   673.75   673.75   0     0
794 Nuetey Mensah                                    INV-3627     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
795 Raza Muhammad                                    INV-3628     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
796 Nicholas McCord                                  INV-3629     1/15/2018       1/25/2018 usd      562.50   AML Token Sale depos   1    562.5    562.5   0     0
797 Raza Muhammad                                    INV-3630     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
798 Gary Morgan                                      INV-3631     1/15/2018       1/25/2018 usd      815.75   AML Token Sale depos   1   815.75   815.75   0     0
799 Lucas Bouchard                                   INV-3632     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
800 Frederik Thaae                                   INV-3633     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
801 Joseph Lim                                       INV-3634     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
802 Raimondo Virciglio                               INV-3635     1/15/2018       1/25/2018 usd    5,000.00   AML Token Sale depos   1    5000     5000    0     0
803 Qis                                              INV-3636     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
804 Brandon                                          INV-3637     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
805 Harinder Singh                                   INV-3638     1/15/2018       1/25/2018 usd    2,000.00   AML Token Sale depos   1    2000     2000    0     0
806 Ron den Braber                                   INV-3639     1/15/2018       1/25/2018 usd      390.00   AML Token Sale depos   1     390      390    0     0
807 ê¹€ë¯¼ì •                                        INV-3640     1/15/2018       1/25/2018 usd    2,816.00   AML Token Sale depos   1    2816     2816    0     0
808 Muneyuki Takano                                  INV-3641     1/15/2018       1/25/2018 usd    1,800.00   AML Token Sale depos   1    1800     1800    0     0
809 Mosi AMBONISYE                                   INV-3642     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
810 Muneyuki Takano                                  INV-3643     1/15/2018       1/25/2018 usd    1,440.00   AML Token Sale depos   1    1440     1440    0     0
811 Mike Arora arora                                 INV-3644     1/15/2018       1/25/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0     0
812 Ashandeep Singh Khanna                           INV-3645     1/15/2018       1/25/2018 usd      940.00   AML Token Sale depos   1     940      940    0     0
813 Ashandeep Singh Khanna                           INV-3646     1/15/2018       1/25/2018 usd      940.00   AML Token Sale depos   1     940      940    0     0
814 Guenter Schumacher                               INV-3647     1/15/2018       1/25/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
815 Jon Carl Curtis                                  INV-3648     1/15/2018       1/25/2018 usd    8,500.00   AML Token Sale depos   1    8500     8500    0     0
816 Lorne Crowley                                    INV-3649     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0     0
817 Gary Morgan                                      INV-3650     1/15/2018       1/25/2018 usd      988.25   AML Token Sale depos   1   988.25   988.25   0     0
818 Jesudunni                                        INV-3651     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
819 Mark humphreys                                   INV-3652     1/15/2018       1/25/2018 usd    3,500.00   AML Token Sale depos   1    3500     3500    0     0
820 Iulian Zanfir                                    INV-3653     1/15/2018       1/25/2018 usd      350.00   AML Token Sale depos   1     350      350    0     0
821 Walter Fordham                                   INV-3654     1/15/2018       1/25/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
822 Donald Balentine                                 INV-3655     1/15/2018       1/25/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0     0
823 Zaheer Abbas                                     INV-3656     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
824 kenn lau                                         INV-3657     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
825 Rosalind Martinez                                INV-3658     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
826 ì˜¤ë³‘ê €                                        INV-3659     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
827 ì˜¤ë³‘ê €                                        INV-3660     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
828 Rosalind Martinez                                INV-3661     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
829 amin mashriqi                                    INV-3662     1/15/2018       1/25/2018 usd    4,500.00   AML Token Sale depos   1    4500     4500    0     0
830 alfred xin                                       INV-3663     1/15/2018       1/25/2018 usd      625.00   AML Token Sale depos   1     625      625    0     0
831 Raul Ruiz                                        INV-3664     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
832 Andy Viettry                                     INV-3665     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
833 Peter Vlacuha                                    INV-3666     1/15/2018       1/25/2018 usd      310.00   AML Token Sale depos   1     310      310    0     0
834 jung seung hwan                                  INV-3667     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
835 Sreekanth Nadriga                                INV-3668     1/15/2018       1/25/2018 usd      937.50   AML Token Sale depos   1    937.5    937.5   0     0
836 Andrew Jones                                     INV-3669     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
837 Douglas Mclaughlin                               INV-3670     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0
838 Hyungju Jin                                      INV-3671     1/15/2018       1/25/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0     0
839 Jesudunni                                        INV-3672     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0     0




                                                                                                                                                    EX3134-059
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896 Curt Jentsch                                     INV-3729     1/15/2018       1/25/2018 usd    1,500.00   AML Token Sale depos   1    1500     1500    0    0
897 Fredrick Jackson                                 INV-3730     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
898 Varto Keshishian                                 INV-3731     1/15/2018       1/25/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
899 Ghamay Mashriqi                                  INV-3732     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
900 Damien                                           INV-3733     1/15/2018       1/25/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
901 Damien                                           INV-3734     1/15/2018       1/25/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
902 Christina tran                                   INV-3735     1/15/2018       1/25/2018 usd    2,000.00   AML Token Sale depos   1    2000     2000    0    0
903 Robert Todd                                      INV-3736     1/15/2018       1/25/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
904 Yevgeniy Kostin                                  INV-3737     1/15/2018       1/25/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
905 Paul Dal                                         INV-3738     1/15/2018       1/25/2018 usd    1,875.00   AML Token Sale depos   1    1875     1875    0    0
906 Frankie McClendon                                INV-3739     1/16/2018       1/26/2018 usd    6,250.00   AML Token Sale depos   1    6250     6250    0    0
907 mike ivankovich                                  INV-3740     1/16/2018       1/26/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
908 Michael Eoannou                                  INV-3741     1/16/2018       1/26/2018 usd    4,000.00   AML Token Sale depos   1    4000     4000    0    0
909 Christopher Rood                                 INV-3742     1/16/2018       1/26/2018 usd      350.00   AML Token Sale depos   1     350      350    0    0
910 JUDITH BLEICHFELD                                INV-3743     1/16/2018       1/26/2018 usd    5,000.00   AML Token Sale depos   1    5000     5000    0    0
911 Michael Eoannou                                  INV-3744     1/16/2018       1/26/2018 usd    4,050.00   AML Token Sale depos   1    4050     4050    0    0
912 Haren Nagodavithana                              INV-3745     1/16/2018       1/26/2018 usd    1,017.00   AML Token Sale depos   1    1017     1017    0    0
913 Peter dhaliwal                                   INV-3746     1/16/2018       1/26/2018 usd    3,000.00   AML Token Sale depos   1    3000     3000    0    0
914 JUDITH BLEICHFELD                                INV-3747     1/16/2018       1/26/2018 usd   10,000.00   AML Token Sale depos   1   10000    10000    0    0
915 MISDIFIAN BIN UDDIN                              INV-3748     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
916 Mageshvaren Gounden                              INV-3749     1/16/2018       1/26/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0
917 Joker                                            INV-3750     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
918 Dounia Alaoui                                    INV-3751     1/16/2018       1/26/2018 usd   20,017.00   AML Token Sale depos   1   20017    20017    0    0
919 Ramakishore                                      INV-3752     1/16/2018       1/26/2018 usd      920.00   AML Token Sale depos   1     920      920    0    0
920 Eui Rock Oh                                      INV-3753     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
921 Mina gindi                                       INV-3754     1/16/2018       1/26/2018 usd      800.00   AML Token Sale depos   1     800      800    0    0
922 Joonki                                           INV-3755     1/16/2018       1/26/2018 usd    1,850.00   AML Token Sale depos   1    1850     1850    0    0
923 Aziz ahmet ÅŸeker                                INV-3756     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
924 Paul King                                        INV-3757     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
925 KyuBin You                                       INV-3758     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
926 KyuBin You                                       INV-3759     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
927 Mayad Rassam                                     INV-3760     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
928 Aziz ahmet ÅŸeker                                INV-3761     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
929 yassine cherradi                                 INV-3762     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
930 Jayden Smith                                     INV-3763     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
931 Caron Buckingham-Rhyde                           INV-3764     1/16/2018       1/26/2018 usd      400.00   AML Token Sale depos   1     400      400    0    0
932 Thirumoorthy                                     INV-3765     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
933 Sonu Sam John                                    INV-3766     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
934 Avinash Patil                                    INV-3767     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
935 Haitham                                          INV-3768     1/16/2018       1/26/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
936 ABDALLAH EL KHOURY                               INV-3769     1/16/2018       1/26/2018 usd    2,500.00   AML Token Sale depos   1    2500     2500    0    0
937 Jason Mohamed                                    INV-3770     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
938 Ravi Soni                                        INV-3771     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
939 Craig Lang                                       INV-3772     1/16/2018       1/26/2018 usd      400.00   AML Token Sale depos   1     400      400    0    0
940 yogesh salokhe                                   INV-3773     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
941 Jihad Khairallah                                 INV-3774     1/16/2018       1/26/2018 usd    1,875.00   AML Token Sale depos   1    1875     1875    0    0
942 elias zeitouni                                   INV-3775     1/16/2018       1/26/2018 usd    5,000.00   AML Token Sale depos   1    5000     5000    0    0
943 Carl Argent                                      INV-3776     1/16/2018       1/26/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
944 Daniel Vuong                                     INV-3777     1/16/2018       1/26/2018 usd      312.50   AML Token Sale depos   1    312.5    312.5   0    0
945 SACHIN KARARE                                    INV-3778     1/16/2018       1/26/2018 usd    1,250.00   AML Token Sale depos   1    1250     1250    0    0
946 Stephen Berlinguette                             INV-3779     1/16/2018       1/26/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
947 Christa Boos                                     INV-3780     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
948 OVIE OBA                                         INV-3781     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1     300      300    0    0
949 Frank Boos                                       INV-3782     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1     500      500    0    0
950 Eric Lambert                                     INV-3783     1/16/2018       1/26/2018 usd    1,000.00   AML Token Sale depos   1    1000     1000    0    0
951 Paul Tsombanidis                                 INV-3784     1/16/2018       1/26/2018 usd      375.00   AML Token Sale depos   1     375      375    0    0




                                                                                                                                                   EX3134-061
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 952 Thomas Macaluso                                    INV-3785     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 953 Paul Tsombanidis                                   INV-3786     1/16/2018       1/26/2018 usd      375.00   AML Token Sale depos   1    375     375    0    0
 954 Paul Tsombanidis                                   INV-3787     1/16/2018       1/26/2018 usd      375.00   AML Token Sale depos   1    375     375    0    0
 955 Christophe Decaestecker                            INV-3788     1/16/2018       1/26/2018 usd    6,280.00   AML Token Sale depos   1   6280    6280    0    0
 956 Jean-Philipp Batz                                  INV-3789     1/16/2018       1/26/2018 usd      750.00   AML Token Sale depos   1    750     750    0    0
 957 Alex Benisatto                                     INV-3790     1/16/2018       1/26/2018 usd      641.00   AML Token Sale depos   1    641     641    0    0
 958 Jodelyn Sejour                                     INV-3791     1/16/2018       1/26/2018 usd      312.50   AML Token Sale depos   1   312.5   312.5   0    0
 959 Arun Gupta                                         INV-3792     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 960 yogesh salokhe                                     INV-3793     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 961 David Odierno                                      INV-3794     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
 962 Roberto Balute Jr                                  INV-3795     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 963 Prabha rajendran                                   INV-3796     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
 964 MANASSE                                            INV-3797     1/16/2018       1/26/2018 usd    1,500.00   AML Token Sale depos   1   1500    1500    0    0
 965 Gurcharan pasricha                                 INV-3798     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 966 Asif Khan                                          INV-3799     1/16/2018       1/26/2018 usd    2,000.00   AML Token Sale depos   1   2000    2000    0    0
 967 EliZabeth Osgood                                   INV-3800     1/16/2018       1/26/2018 usd    2,500.00   AML Token Sale depos   1   2500    2500    0    0
 968 Gary                                               INV-3801     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 969 Shauna Palmer                                      INV-3802     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 970 Olga Fokina                                        INV-3803     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 971 Joseph Tarzy                                       INV-3804     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 972 ABDUL MAJID CHILWAN                                INV-3805     1/16/2018       1/26/2018 usd    1,500.00   AML Token Sale depos   1   1500    1500    0    0
 973 Suvajit Bhadra                                     INV-3806     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 974 Tibor Okros                                        INV-3807     1/16/2018       1/26/2018 usd    3,500.00   AML Token Sale depos   1   3500    3500    0    0
 975 MURTAZA ALI                                        INV-3808     1/16/2018       1/26/2018 usd    1,050.00   AML Token Sale depos   1   1050    1050    0    0
 976 Ricardo I Alcala                                   INV-3809     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 977 Melvin L Adams                                     INV-3810     1/16/2018       1/26/2018 usd      345.00   AML Token Sale depos   1    345     345    0    0
 978 Raman Kamra                                        INV-3811     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 979 Peter Post                                         INV-3812     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
 980 Hoa Huynh Nguyen                                   INV-3813     1/16/2018       1/26/2018 usd    5,000.00   AML Token Sale depos   1   5000    5000    0    0
 981 jacques brisson                                    INV-3814     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 982 jacques brisson                                    INV-3815     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 983 Drew Sullivan                                      INV-3816     1/16/2018       1/26/2018 usd      900.00   AML Token Sale depos   1    900     900    0    0
 984 ROBERTO CANUL CASTRO                               INV-3817     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 985 Åžahin                                             INV-3818     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 986 Hyun Jung Noh                                      INV-3819     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
 987 Daniele Cognolato                                  INV-3820     1/16/2018       1/26/2018 usd      450.00   AML Token Sale depos   1    450     450    0    0
 988 Edwin Lim                                          INV-3821     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 989 Artak Avetisyan                                    INV-3822     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 990 Dallier                                            INV-3823     1/16/2018       1/26/2018 usd      750.00   AML Token Sale depos   1    750     750    0    0
 991 Arun                                               INV-3824     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 992 Arun                                               INV-3825     1/16/2018       1/26/2018 usd      495.00   AML Token Sale depos   1    495     495    0    0
 993 Harish Raju Govinda Raju                           INV-3826     1/16/2018       1/26/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
 994 Angelo                                             INV-3827     1/16/2018       1/26/2018 usd      400.00   AML Token Sale depos   1    400     400    0    0
 995 jungho9794                                         INV-3828     1/16/2018       1/26/2018 usd      454.00   AML Token Sale depos   1    454     454    0    0
 996 Shiv                                               INV-3829     1/16/2018       1/26/2018 usd      499.50   AML Token Sale depos   1   499.5   499.5   0    0
 997 Raul Narvasa                                       INV-3830     1/16/2018       1/26/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
 998 Marek Wojtowicz                                    INV-3831     1/16/2018       1/26/2018 usd      420.00   AML Token Sale depos   1    420     420    0    0
 999 Chai Veetaine                                      INV-3832     1/16/2018       1/26/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
1000 Danny                                              INV-3833     1/16/2018       1/26/2018 usd      500.00   AML Token Sale depos   1    500     500    0    0
1001 Assem Al Mor                                       INV-3834     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
1002 Hoy Cheong Wong                                    INV-3835     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
1003 Narasimha Sastry Vadali                            INV-3836     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300     300    0    0
1004 Narasimha Sastry Vadali                            INV-3837     1/17/2018       1/27/2018 usd      301.50   AML Token Sale depos   1   301.5   301.5   0    0
1005 Samuel Alin Pancu                                  INV-3838     1/17/2018       1/27/2018 usd    2,000.00   AML Token Sale depos   1   2000    2000    0    0
1006 Bram leysen                                        INV-3839     1/17/2018       1/27/2018 usd    1,000.00   AML Token Sale depos   1   1000    1000    0    0
1007 Andor Pasztor                                      INV-3840     1/17/2018       1/27/2018 usd      375.00   AML Token Sale depos   1    375     375    0    0




                                                                                                                                                    EX3134-062
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1008 Bhanu Prakash Aturi                                INV-3841     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1009 Ali mohammed hasan                                 INV-3842     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1010 moon byoung joon                                   INV-3843     1/17/2018       1/27/2018 usd    1,000.00   AML Token Sale depos   1   1000   1000   0     0
1011 samy samy                                          INV-3844     1/17/2018       1/27/2018 usd    1,500.00   AML Token Sale depos   1   1500   1500   0     0
1012 hong                                               INV-3845     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1013 ì ê²½ìˆ˜                                           INV-3846     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1014 hong                                               INV-3847     1/17/2018       1/27/2018 usd      317.00   AML Token Sale depos   1    317    317   0     0
1015 Bartosz Gesner                                     INV-3848     1/17/2018       1/27/2018 usd      375.00   AML Token Sale depos   1    375    375   0     0
1016 Ryan Crompton                                      INV-3849     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1017 shefi goldberg                                     INV-3850     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1018 ALDA                                               INV-3851     1/17/2018       1/27/2018 usd    1,500.00   AML Token Sale depos   1   1500   1500   0     0
1019 Jeff                                               INV-3852     1/17/2018       1/27/2018 usd    3,000.00   AML Token Sale depos   1   3000   3000   0     0
1020 Romeo Vinas                                        INV-3853     1/17/2018       1/27/2018 usd      750.00   AML Token Sale depos   1    750    750   0     0
1021 Neil                                               INV-3854     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1022 ATRACOM Kft. Attila GyÃ¼                           INV-3855     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1023 Maurice James Toal                                 INV-3856     1/17/2018       1/27/2018 usd    1,500.00   AML Token Sale depos   1   1500   1500   0     0
1024 cerber                                             INV-3857     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1025 Josh                                               INV-3858     1/17/2018       1/27/2018 usd    3,000.00   AML Token Sale depos   1   3000   3000   0     0
1026 Jeff                                               INV-3859     1/17/2018       1/27/2018 usd    3,000.00   AML Token Sale depos   1   3000   3000   0     0
1027 Amina Osman                                        INV-3860     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1028 Bruce Park                                         INV-3861     1/17/2018       1/27/2018 usd      900.00   AML Token Sale depos   1    900    900   0     0
1029 raafate                                            INV-3862     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1030 Francis                                            INV-3863     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1031 Julian white                                       INV-3864     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1032 mark creedon                                       INV-3865     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1033 Declan McCluskey                                   INV-3866     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1034 LAMOULEN                                           INV-3867     1/17/2018       1/27/2018 usd    3,600.00   AML Token Sale depos   1   3600   3600   0     0
1035 Nicolas Canon                                      INV-3868     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1036 Rashmikant Ghevariya                               INV-3869     1/17/2018       1/27/2018 usd    7,500.00   AML Token Sale depos   1   7500   7500   0     0
1037 Fausto Castillo                                    INV-3870     1/17/2018       1/27/2018 usd    1,500.00   AML Token Sale depos   1   1500   1500   0     0
1038 Erlinda Buising                                    INV-3871     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1039 Suzanne Blades                                     INV-3872     1/17/2018       1/27/2018 usd      600.00   AML Token Sale depos   1    600    600   0     0
1040 John Nichols                                       INV-3873     1/17/2018       1/27/2018 usd      876.00   AML Token Sale depos   1    876    876   0     0
1041 THIEU HUY HOANG                                    INV-3874     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1042 Jack Fallon                                        INV-3875     1/17/2018       1/27/2018 usd      350.00   AML Token Sale depos   1    350    350   0     0
1043 John David Hyatt                                   INV-3876     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1044 Victor                                             INV-3877     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1045 Jack Fallon                                        INV-3878     1/17/2018       1/27/2018 usd      350.00   AML Token Sale depos   1    350    350   0     0
1046 CHOONG HO JE                                       INV-3879     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1047 Ferina Manecksha                                   INV-3880     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1048 Christian Mejia Ramirez                            INV-3881     1/17/2018       1/27/2018 usd      950.00   AML Token Sale depos   1    950    950   0     0
1049 Gaus                                               INV-3882     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1050 kiet ly                                            INV-3883     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1051 Boh boon wee                                       INV-3884     1/17/2018       1/27/2018 usd      300.00   AML Token Sale depos   1    300    300   0     0
1052 Boh boon wee                                       INV-3885     1/17/2018       1/27/2018 usd      700.00   AML Token Sale depos   1    700    700   0     0




                                                                                                                                                   EX3134-063
